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                                EXHIBIT 3
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        C O H E N , M I L S T E I N , H A U S F E L D & T O L L , P.L.L.C. F I R M R E S U M E

          For decades, Cohen, Milstein, Hausfeld & Toll, P.L.L.C. has represented

  individuals, small businesses, institutional investors, and employees in many of the major

  class action cases litigated in the United States for violations of the antitrust, securities,

  environmental, consumer protection, civil rights/discrimination, ERISA and human rights

  laws. The Firm is also at the forefront of numerous innovative legal actions that are

  expanding the quality and availability of legal recourse for aggrieved individuals and

  businesses both domestic and international. Over its history, Cohen Milstein has

  obtained many landmark judgments and settlements for individuals and businesses in the

  United States and abroad.

          The firm’s most significant past cases include:

                           In re Vitamins Antitrust Litigation, MDL No. 1285 (D.D.C.).
          Cohen Milstein served as co-lead counsel for two certified classes of businesses
          that directly purchased bulk vitamins and were overcharged as a result of a ten
          year global price-fixing and market allocation conspiracy. Chief Judge Hogan
          approved four major settlements between certain vitamin defendants and Class
          Plaintiffs, including a landmark partial settlement of $1.1 billion. In a later trial
          before Chief Judge Hogan concerning four Class Plaintiffs’ remaining unsettled
          Vitamin B4 (choline chloride) claims, a federal jury in Washington unanimously
          found Japan’s second largest trading company, Mitsui & Co., Ltd., its wholly-
          owned U.S. subsidiary Mitsui & Co. (U.S.A.), Inc., DuCoa, LP, a choline chloride
          manufacturer based in Highland, Illinois, and DuCoa’s general partner, DCV, Inc.
          liable for participating in the conspiracy and ordered them to pay $49,539,234,
          which is trebled to $148,617,702 under the federal antitrust laws. The case was
          subsequently settled against those defendants.

                           Dukes v. Wal-Mart Stores, Inc., No. C-01-2252 (N.D. Cal.).
          Cohen Milstein is one of the co-lead counsel in this discrimination case. In June
          2004, U.S. District Court Judge Martin Jenkins ruled that six current and former
          Wal-Mart employees from California may represent all female employees of Wal-
          Mart who worked at its U.S. stores anytime after December 26, 1998 in a
          nationwide sex discrimination class action lawsuit (appeal pending). As the
          largest civil rights class action ever certified against a private employer, the Judge
          described the case as “historic in nature, dwarfing other employment
          discrimination cases that came before it.” The action charges that Wal-Mart
          discriminates against its female retail employees in pay and promotions. The
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        class in this case includes more than 1.5 million current and former female
        employees of Wal-Mart retail stores in America, including Wal-Mart discount
        stores, super centers, neighborhood stores, and Sam’s Clubs.

                        In re Lucent Technologies Securities Litigation, Civ. Action No.
        00-621 (JAP) (D.N.J.). A settlement in this massive securities fraud class action
        was reached in late March 2003. The class portion of the settlement amounts to
        over $500 million in cash, stock and warrants and ranks as the second largest
        securities class action settlement ever completed. Cohen Milstein represented one
        of the co-lead plaintiffs in this action, a private mutual fund.

                       Nate Pease, et al. v. Jasper Wyman & Son, Inc., et al., Civil Action
        No. 00-015 (Knox County Superior Court, Me.). In 2004, a state court jury from
        Maine found three blueberry processing companies liable for participating in a
        four-year price-fixing and non-solicitation conspiracy that artificially lowered the
        prices defendants paid to approximately 800 growers for wild blueberries. The
        jury ordered defendants Cherryfield Foods, Inc., Jasper Wyman & Son, Inc., and
        Allen’s Blueberry Freezer, Inc. to pay $18.68 million in damages, the amount
        which the growers would have been paid absent the defendants’ conspiracy.
        After a mandatory trebling of this damage figure under Maine antitrust law, the
        total amount of the verdict for the plaintiffs is just over $56 million. The Firm
        served as co-lead counsel.

                        In re StarLink Corn Products, Liability Litigation, MDL No. 1403.
        (N.D. Ill.). Cohen Milstein successfully represented U.S. corn farmers in a
        national class action against Aventis CropScience USA Holding and Garst Seed
        Company, the manufacturer and primary distributor of StarLink corn seeds.
        StarLink is a genetically modified corn variety that the United States government
        permitted for sale as animal feed and for industrial purposes, but never approved
        for human consumption. However, StarLink was found in corn products sold in
        grocery stores across the country and was traced to widespread contamination of
        the U.S. commodity corn supply. The Firm, as co-lead counsel, achieved a final
        settlement providing more than $110 million for U.S. corn farmers, which was
        approved by a federal district court in April 2003. This settlement was the first
        successful resolution of tort claims brought by farmers against the manufacturers
        of genetically modified seeds.

                        In re Diet Drug Litigation (Fen-Phen), MDL No. 1203 (E.D. Pa.).
        As a member of the Plaintiffs’ Management Committee and Sub-Class Counsel,
        Cohen Milstein played a major part in the success of the Fen-Phen diet drug
        litigation and settlement (In re: Diet Drugs (Phentermine, Fenfluramine,
        Dexfenfluramine) Products Liability Litigation, MDL 1203). CMHT and other
        plaintiffs’ counsel achieved the largest settlement ever obtained in a mass tort
        case - $3.75 billion - on behalf of millions of U.S. consumers who used Pondimin
        (fenfluramine) or Redux (dexfenfluramine), either alone or in combination with
        phentermine, diet drugs that are associated with heart valve damage.
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                       Snyder v. Nationwide Mutual Insurance Company, No. 97/0633
        (Sup. Ct. N.Y. Onondaga Cty.). Cohen Milstein served as one of plaintiffs’
        principal counsel in this case on behalf of persons who held life insurance policies
        issued by Nationwide through its captive agency force. The action alleged
        consumer fraud and misrepresentations. Plaintiffs obtained a settlement valued at
        more than $85 million. The judge praised the efforts of Cohen Milstein and its
        co-counsel for having done “a very, very good job for all the people.” He
        complimented “not only the manner” in which the result was arrived at, but also
        the “time … in which it was done.”

                         Oncology & Radiation Associates, P.A. v. Bristol Myers Squibb
        Co., et al., No. 1:01CV02313 (D.D.C.). Cohen Milstein has been co-lead counsel
        in this case since its inception in 2001. Plaintiffs alleged that Bristol-Myers
        Squibb unlawfully monopolized the United States market for paclitaxel, a cancer
        drug discovered and developed by the United States government, which Bristol
        sells under the brand name Taxol. Bristol's scheme included a conspiracy with
        American BioScience, Inc., a generic manufacturer, to block generic competition.
        Cohen, Milstein's investigation and prosecution of this litigation on behalf of
        direct purchasers of Taxol led to a settlement of $65,815,000 that was finally
        approved by U.S. District Judge Emmet G. Sullivan on August 14, 2003 and
        preceded numerous Taxol-related litigations brought by the Federal Trade
        Commission and State Attorneys General offices.

                •       Kruman v. Christie’s International PLC, et al., Docket No. 01-
        7309. A $40 million settlement on behalf of all persons who bought or sold items
        through Christie’s or Sotheby’s auction houses in non-internet actions was
        approved in this action. Cohen Milstein served as one of three leading counsel on
        behalf of foreign plaintiffs. The Court noted that approval of the settlement was
        particularly appropriate, given the significant obstacles that faced plaintiffs and
        plaintiffs' counsel in the litigation. The settlement marked the first time that
        claims on behalf of foreign plaintiffs under U.S. antitrust laws have been resolved
        in a U.S. court, a milestone in U.S. antitrust jurisprudence.

                       In re Infant Formula Consumer Antitrust Litigation (multiple state
        courts). Cohen Milstein instituted price-fixing cases on behalf of indirect-
        purchasers in 17 states under state antitrust laws against three companies who
        conspired to drive up the price of infant formula. The cases resulted in
        settlements of $64 million for purchasers of infant formula.

                        Domestic Air Transportation Antitrust Litigation (N.D. Ga.)
        Plaintiffs alleged a conspiracy among major airlines to set prices. In one of the
        largest consumer class actions ever brought to a successful conclusion, Cohen
        Milstein was one of the lead counsel and obtained a settlement of travel discounts
        and cash totaling $458 million for the class of individuals and businesses.

                      In re The Exxon Valdez Litigation, No. A89-095 Civ. (D. Ak.).
        The firm was selected from dozens of law firms around the country by federal and
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        state judges in Alaska to serve as co-lead counsel for plaintiffs in the largest
        environmental case in United States history that resulted in a jury verdict of more
        than $5 billion (reversed and remanded for revised punitive damages award;
        further proceedings pending).

                        Holocaust Litigation. In the historic Swiss Banks litigation,
        CMHT served, pro bono, as co-lead counsel for Holocaust survivors against the
        Swiss banks that collaborated with the Nazi regime during World War II by
        laundering stolen funds, jewelry and art treasures. Cohen Milstein obtained a
        $1.25 billion settlement, leading the presiding judge to call the firm’s work
        “indispensable.” See In re Holocaust Victim Assets Litig., Case No. CV 96-4849
        (ERK) (MDG) (Memorandum of Chief Judge Korman dated July 26, 2002). The
        Firm was also a lead counsel in litigation by survivors of World War II-era forced
        and slave labor in litigation against the German companies that profited from
        using the labor of concentration camp inmates. This litigation, which resulted in
        an unprecedented settlement of $5.2 billion, was resolved by multinational
        negotiations involving the defendants, plaintiffs’ counsel, and the governments of
        several countries for approximately two million claimants.

                Cohen Milstein has contributed over 37,000 hours of time to human rights
        and pro bono cases since 1996. As an example, the Firm represented eight
        survivors and/or families of the victims of the September 11, 2001 attack on the
        Pentagon before the Federal compensation fund. Cohen Milstein has obtained a
        substantial recovery for each, including the highest recovery to date, $6.8 million,
        for an injured individual.

                        Roberts v. Texaco, Inc., 94-Civ. 2015 (S.D.N.Y.). Cohen Milstein
        represented a class of African-American employees in this landmark litigation
        that resulted in the then-largest race discrimination settlement in history ($176
        million in cash, salary increases and equitable relief). The Court hailed the work
        of class counsel for, inter alia, “framing an imaginative settlement, that may well
        have important ameliorative impact not only at Texaco but in the corporate
        context as a whole …”.

                       Conanan v. Tanoue, No. 00-CV-3091 (ESH). Cohen Milstein
        represented African-American employees at the Federal Deposit Insurance
        Corporation (FDIC) in this race discrimination suit, which settled for $14 million.
        The settlement provides the largest payment made in an employment
        discrimination class action based on race against a federal agency.

                       Trotter v. Perdue Farms, Inc., Case No. 99-893 (RRM) (JJF)
        (MPT), D. Del. This suit on behalf of hourly workers at Perdue’s chicken
        processing facilities -- which employ approximately 15,000 people -- forced
        Perdue to pay employees for time spent “donning and doffing,” that is, obtaining,
        putting on, sanitizing and removing protective equipment that they must use both
        for their own safety and to comply with USDA regulations for the safety of the
        food supply. The suit alleged that Perdue’s practice of not counting donning and
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         doffing time as hours worked violated the Fair Labor Standards Act and state law.
         In a separate settlement with the Department of Labor, Perdue agreed to change
         its pay practices. In addition, Perdue is required to issue retroactive credit under
         one of its retirement plans for “donning and doffing” work if the credit would
         improve employees’ or former employees’ eligibility for pension benefits.
         CMHT was co-lead counsel.

         In addition, Cohen Milstein is an innovator in new areas of the law. The Firm

  was in the forefront of filing antitrust claims on behalf of indirect purchasers in 1993 and

  1994, when it filed state-court actions in 18 states on behalf of indirect purchasers of

  infant formula. This was the first effort to systematically and simultaneously pursue

  treble damages claims on behalf of indirect-purchasing consumers in all states where

  antitrust laws permitted such claims. This approach, and variations of it, have since

  become the accepted model for pursuing antitrust damages on behalf of indirect-

  purchasing consumers. The Firm also has been in the forefront of the development of

  international antitrust theory and litigation of claims. As the global economy has

  produced worldwide conglomerates, so, too, has the nature of antitrust violations

  changed. For example, in Kruman v. Christie’s International PLC, et al. Docket No. 01-

  7309 and In re Bulk Vitamins Antitrust Litigation, MDL 1285 (D.D.C.), both the parties

  and the anticompetitive actions were played out on a world, rather than domestic, stage.

  The firm also represents and won Lead Plaintiff status for domestic and foreign investors

  in a foreign company’s bonds, in a PSLRA litigation being pursued in the United States,

  In re Parmalat Securities Litigation, Master Docket 04 Civ 0030 (LAK) (S.D.N.Y.). The

  Firm has affiliated offices around the world, in the United Kingdom, Italy, South Africa,

  Panama and Australia.

         Cohen, Milstein, Hausfeld & Toll, P.L.L.C. was established in March 1986 and is

  based in Washington, D.C. with offices in New York, Philadelphia and Chicago. From
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  1969 until 1986, the Firm was the Washington, D.C. office of the Philadelphia law firm

  currently known as Kohn, Swift & Graf, P.C..

         The Firm has had one of the most varied and extensive plaintiffs’ practices in the

  United States, and it has played a prominent role in major litigations since 1969. These

  cases include:

         In re North Atlantic Air Travel Antitrust Litigation, Civ. Action No. 84-1103
         (D.D.C.); the Firm, as co-lead counsel, obtained a class settlement of $30 million
         in coupons for air travelers between the United States and England.

         In re Screws Antitrust Litigation, MDL No. 443 (D. Mass.); the Firm, as co-lead
         counsel, obtained a class settlement of approximately $50 million.

         Ocean Shipping Antitrust Litigation, MDL No. 395 (S.D.N.Y); the Firm, as co-
         lead counsel, obtained a class settlement of approximately $50 million.

         In re Corrugated Container Antitrust Litigation, MDL No. 310 (S.D. Tex.); the
         Firm was one of a handful of firms involved in the successful trial of this massive
         antitrust case which was eventually settled for approximately $366 million.

         Murphy, Derivatively On Behalf of Nominal Defendant National Health
         Laboratories Incorporated v. Perelman, Case No. 659511 (Cal. Sup. San Diego
         Cty.); as one of co-lead counsel in the derivative action, the firm and others
         obtained a global settlement of class and derivative litigation for $65 million.

         In re Flat Glass Antitrust Litigation, MDL No.1200, (W.D. Pa.); the Firm as co-
         lead counsel obtained a total of $ 61.7 million in settlement funds on behalf of
         glass shops, window manufacturers, and others who directly purchased the
         affected products from the defendants.
         Buspirone Antitrust Litigation, MDL No. 1413 (S.D.N.Y.); as one of four co-lead
         counsel, the Firm and others obtained a $90 million settlement for the class.
         Masonite Hardboard Siding Litigation, Civ. Action No. 996787 (Cal. Super. Ct.);
         the Firm, as one of the lead counsel, obtained a settlement valued at hundreds of
         millions of dollars.

         Polybutylene Pipe Litigation, Civ. Action No. W 2004-017770COA-R3-CV
         (W.D. Tenn.); the Firm helped obtain a settlement valued at $900 million.

         Biben v. Card, No. 84-0844-CV-W-6 (W.D. Mo.); the Firm, as one of two co-lead
         counsel, negotiated settlements for $11.9 million, which was 93% of class
         members’ damages.

         In re Newbridge Networks Securities Litigation, Civ. Action No. 90-1061
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          (D.D.C.); the Firm, as co-counsel, obtained a cash and stock class settlement
          valued at approximately $20 million.

          Jiffy Lube Securities Litigation, Civ. Action No. Y-89-1939 (D. Md.); the Firm,
          as co-lead counsel, obtained class settlements for a total of $12 million.

          In re Saxon Securities Litigation, Civ. Action No. 82 Civ. 3103 (S.D.N.Y.); the
          Firm, as co-lead counsel, obtained a class settlement of approximately $20
          million.

          Grossman v. Waste Management, Civ. Action No. 83 Civ. 2167 (N.D. Ill.); the
          Firm, as co-lead counsel, obtained a class settlement of approximately $13
          million.

          In re Warner Communications Securities Litigation, 618 F. Supp. 735 (S.D.N.Y.
          1986); the Firm was one of plaintiffs’ counsel in this case where a class settlement
          of $18.4 million was obtained.

          In re Tandon Securities Litigation, No. CV86-4566 (C.D. Cal.); the Firm played a
          major role in this class action where settlement was valued at approximately $16
          million.

          Immunex Securities Litigation, No. C92-548WD (W.D. Wash.); the firm was one
          of lead counsel where the largest securities class action settlement in Seattle --
          $14 million -- was recovered.

          In re Caremark Securities Litigation, Case No. 94 C 4751 (N.D. Ill.); the Firm, as
          co-lead counsel, obtained a class settlement of $25 million.

          In re Commercial Explosives Antitrust Litigation, Consolidated Case No. 2:96md
          1093S (D. Utah); the Firm, as co-lead counsel, obtained a settlement of $77
          million.

  Cohen Milstein has also served as lead or co-lead counsel, or on Plaintiffs’ Executive

  Committee(s), in many dozens of antitrust, securities, consumer protection or product

  liability, civil rights, and human rights class action cases.

                                  Attorney Profiles - Partners

  Herbert E. Milstein

  Herbert E. Milstein began practicing law with Jerry S. Cohen in 1970 – the birth of the
  Firm. Mr. Milstein has been lead or principal counsel in many of the best known
  securities class actions litigated during the past 35 years. He is the senior member of the
  Securities Fraud/Investor Protection practice group.
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  Mr. Milstein is the author of numerous articles on topics involving class action litigations
  and the Federal securities laws. He recently authored an article on current issues
  involving federal securities laws and a separate article in the book entitled The Burger
  Years. He is also the author of a monograph on the attorney-client privilege.

  As an adjunct Professor of Law at Georgetown University Law Center from 1980-1987,
  he taught complex litigation and continues to lecture on securities litigation and class
  actions at law schools and seminars sponsored by the American Bar Association, state bar
  associations, and continuing legal education organizations. In 1985, he received a Silver
  Gavel award from the American Bar Association for his distinguished example of public
  service.

  Mr. Milstein formerly served on the staff of the Securities and Exchange Commission for
  five and one-half years, and last held the position of Chief Enforcement Attorney,
  Division of Corporate Regulation. From 1976-1980, Mr. Milstein served as Equity
  Receiver for National American Life Insurance Company, appointed by Judge Charles R.
  Richey, in SEC v. National Pacific Corp. For that work, the Chairman of the SEC said
  Mr. Milstein and the Firm served “with distinction.”

  Formerly the President of the National Association of Securities and Commercial Law
  Attorneys (NASCAT), he also served as Treasurer of that organization for six years. He
  is a member of the American Law Institute, and a member and former Chairman of the
  Executive Council of the Securities Law Committee of the Federal Bar Association.

  Mr. Milstein is currently on the Board of Directors of several organizations, including the
  Appleseed Foundation and The Studio Theatre of Washington, DC.

  Mr. Milstein graduated from Harvard College (cum laude, 1958) and Columbia
  University School of Law (LL.B., 1961).

  Mr. Milstein is admitted to practice in the District of Columbia and Massachusetts.

  Michael D. Hausfeld

  Michael Hausfeld, one of the country's top civil litigators, joined the Firm in 1971. He is
  a member of the Antitrust and International practice groups.

  Mr. Hausfeld’s career has included some of the largest and most successful class actions
  in the fields of human rights, discrimination and antitrust law. He long has had an
  abiding interest in social reform cases, and was among the first lawyers in the U.S. to
  assert that sexual harassment was a form of discrimination prohibited by Title VII; he
  successfully tried the first case establishing that principle. He represented Native
  Alaskans whose lives were affected by the 1989 Exxon Valdez oil spill; later, he
  negotiated a then-historic $176 million settlement from Texaco, Inc. in a racial-bias
  discrimination case.

  In Friedman v. Union Bank of Switzerland, Mr. Hausfeld represented a class of victims of
  the Holocaust whose assets were wrongfully retained by private Swiss banks during and
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   after World War II. The case raised novel issues of international banking law and
   international human rights law. He successfully represented the Republic of Poland, the
   Czech Republic, the Republic of Belarus, the Republic of Ukraine and the Russian
   Federation on issues of slave and forced labor for both Jewish and non-Jewish victims of
   Nazi persecution during World War II. He currently represents Jubilee 2000, Khulumani,
   and other NGOs in litigation involving abuses under apartheid law in South Africa, and is
   pursuing a RICO litigation against the tobacco industry with regard to the sale of and
   representations on “light” cigarettes.

   Mr. Hausfeld has a long record of successful litigation in the antitrust field, on behalf of
   both individuals and classes, in cases involving monopolization, tie-ins, exclusive
   dealings and price fixing. He is or has been co-lead counsel in antitrust cases against
   manufacturers of genetically engineered foods, managed healthcare companies, bulk
   vitamin manufacturers, technology companies and international industrial cartels. He is
   actively involved in ongoing investigations into antitrust cases abroad, and was the only
   private lawyer permitted to attend and represent the interests of consumers worldwide in
   the 2003 closed hearings by the EU Commission in the Microsoft case.

   Chief Judge Edward Korman (E.D.N.Y.), has noted that Mr. Hausfeld is one of the two
   “leading class action lawyers in the United States.” He has been profiled in, and
   recognized by, many articles and surveys. Most recently, a Forbes magazine article
   reported on Mr. Hausfeld’s work to establish an international alliance for the protection
   of consumers and investors worldwide. He was named one of thirty master negotiators in
   Done Deal: Insights from Interviews with the World’s Best Negotiatiors, by Michael
   Benoliel, Ed.D. The Wall Street Journal profiled him and his practice, and he has been
   recognized by The National Law Journal as one of the “Top 100 Influential Lawyers in
   America.” He has been described by one of the country's leading civil rights columnists
   as an “extremely penetrating lawyer”, and by a colleague (in a Washington Post article)
   as a lawyer who “has a very inventive mind when it comes to litigation. He thinks of
   things most lawyers don't because they have originality pounded out of them in law
   school.” The New York Times referred to Mr. Hausfeld as one of the nation's “most
   prominent antitrust lawyers,” and Washingtonian Magazine has listed Mr. Hausfeld in
   several surveys as one of Washington's 75 best lawyers, saying he “consistently brings in
   the biggest judgments in the history of law” and that he is “a Washington lawyer
   determined to change the world -- and succeeding.”

   His most recent awards include the 2002 B'Nai Brith Humanitarian of the Year award;
   the Simon Wiesenthal Center Award for Distinguished Service; and the U.S. Department
   of Energy's Human Spirit Award, presented “in tribute to a person who understands the
   obligation to seek truth and act on it is not the burden of some, but of all; it is universal.”

   He is a frequent speaker on antitrust, human rights and international law, most recently
   participating in a panel discussion at the Spring Meeting of the ABA Section of Antitrust
   Law entitled “International Antitrust: Developments After Empagran and Intel” and at
   the School of Oriental and African Studies (SOAS) Annual Meeting in London entitled
   “Human Rights in An Integrated World: The Apartheid Reparations Litigation in the
   USA.” He taught Masters Degree courses at Georgetown University Law Center from
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   1980 to 1987, and was an Adjunct Professor at the George Washington University Law
   School from 1996 to 1998 and now sits on its Board of Directors.

   Mr. Hausfeld is a graduate of Brooklyn College, receiving a B.A. in Political Science
   with a minor in Russian History (cum laude, 1966) and the National Law Center, George
   Washington University (J.D., with honors, 1969). He was a member of the Order of the
   Coif and the Board of Editors for the George Washington Law Review (1968-69).

   He is admitted to practice in the District of Columbia.
   Steven J. Toll
   Steven J. Toll joined the Firm in 1979 and has been lead or principal counsel in some of
   the most highly publicized stock fraud cases over the past 25 years. He is a member of
   the Securities Fraud/Investor Protection practice group.

   Some of Mr. Toll's more notable cases include those against Lucent Technologies, which
   was settled for approximately $575 million, the second largest securities class action
   settlement ever achieved; Caremark ($25 million recovery for shareholders), where the
   defendant pled guilty to Medicare fraud and paid the U.S. Government a fine of
   approximately $160 million; and National Health Labs, which paid $65 million to settle
   shareholder and derivative cases. The breadth of his experience is shown from his work
   on the litigation teams in In re Saxon Securities Litigation (S.D.N.Y.)(fraud involving
   fictitious photocopier sales; recovery of $20 million); In re ECI Telecom Securities
   Litigation (E.D.Va.)(telecom company accused of presenting false revenue and earnings
   figures; recovery of $22.75 million); In re Immunex Securities Litigation (W.D. Wash.)
   (biotech company accused of concealing significant business problems; recovery of $14
   million); Grossman v. Waste Management, (N.D. Ill.)(defendant accused of withholding
   information concerning violations of the environmental laws and regulatory standards;
   recovery of $13 million); In re Jiffy Lube Securities Litigation (D. Md.) (company
   accused of deceptive accounting practices; recovery of $12 million); and In re Itron
   Securities Litigation (E.D. Wash.)(defendant company accused of concealing flaws in its
   technology; recovery of $12 million).

   Mr. Toll also served as co-lead counsel in one of the most publicized frauds of the 1990s
   -- Cascade International (S.D. Fla.) where the mastermind of the fraud, Victor Incendy,
   is still a fugitive from justice. The case settled on the eve of trial against Raymond James
   Inc. -- the only securities class action ever successfully litigated against a brokerage firm
   for its role as a research analyst.

   He is currently one of the Firm’s team serving as co-lead counsel in the securities fraud
   class action involving Parmalat, the Italian dairy manufacturer; the case is known as
   Europe’s “Enron”. He is also leading several securities fraud cases against other public
   companies.

   Mr. Toll was profiled in the February 1996 Washington Business Journal as one of five
   attorneys that stand out as the “cream of the crop” in the Washington D.C. legal
   community.
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   He has written for and spoken at various conferences about securities law issues,
   including, inter alia, The Plaintiffs’ Perspective, Securities Regulation and the New Law,
   National Legal Center for the Public Interest, No. 1, Sept. 1996; The Sarbanes-Oxley Bill
   Provides No Assistance To Investors Seeking To Recovery From Corporate Fraud, ABA
   Annual Meeting, August 2002; and The Analyst Cases Involving Merrill Lynch, and Its
   Internet Analyst Henry Blodget, and Salomon Smith Barney and Its Telecommunications
   Analyst Jack Grubman, Mass Torts Made Perfect (presented January 2003).
   Mr. Toll is an honors graduate of the Wharton School of the University of Pennsylvania
   (B.S., Accounting, cum laude, 1972). He graduated from Georgetown University Law
   Center (J.D., 1975) where he was Special Project Editor of the Tax Lawyer.

   He is admitted to practice in Virginia and the District of Columbia.
   Lisa M. Mezzetti

   Lisa Mezzetti, a Partner at Cohen Milstein, joined the Firm in 1984, and is a member of
   the Securities Fraud/Investor Protection and the Consumer Protection practice groups.

   In her securities work, Ms. Mezzetti represented the corporate plaintiff in a private
   litigation alleging damages from the purchase of a healthcare technology company, and
   represented 1,900 plaintiffs in a series of 25 federal court suits concerning municipal
   bonds. Her shareholder class actions include Murphy, Derivatively On Behalf of Nominal
   Defendant National Health Laboratories Inc. v. Perelman (Cal. Super. San Diego Cty.)
   (global settlement of class and derivative litigations for total of $65 million); Flecker v.
   Hollywood Entertainment Corp. (D. Or.) ($15 million settlement, reached the day before
   trial was to begin); and Biben v. Card (W.D. Mo.)(93% of class members' damages
   recovered in settlement). She also has represented parties in securities arbitrations (both
   as claimant's counsel or defense counsel for the broker) and defended clients in
   investigations and enforcement actions of the Securities and Exchange Commission.

   In consumer cases, Ms. Mezzetti is or was one of the lead counsel in In re Lupron
   Marketing and Sales Practices Litigation (D. Mass.) (brought against pharmaceutical
   companies on pricing policies and methods; combined $150 million settlement pleading);
   Howard v. Ford Motor Co. (Cal. Sup. Ct.) (order of the Court on equitable count required
   prospective recall of 1.7 million cars; settled immediately before scheduled second jury
   trial); and Fischl v. Direct Merchants Credit Card Bank, N.A. (Henn. Cnty. Minn.)
   (brought by credit card consumers, alleging improper charges and payment processes;
   settlement included credits for overpayments and changes in business practices). She has
   litigated class actions under the ERISA laws, and brought one of the first class actions
   filed under the federal Family and Medical Leave Act.
   Ms. Mezzetti is a public arbitrator for the National Association of Securities Dealers,
   hearing disputes between customers and brokers. She speaks at legal education seminars
   and has been quoted in the media on issues concerning consumer law and securities class
   actions. Ms. Mezzetti most recently was a panelist at the Federal Trade Commission’s
   Workshop on Consumer Class Actions and at the annual conference of the Association of
   Trial Lawyers of America on unfair trade practices and deceptive trade practices statutes.
   The transcript of the FTC workshop, and her related article, The Coupon Can Be the
   Ticket: The Use of “Coupon” and Other Non-Monetary Redress in Class Action
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   Settlements (co-authored with Whitney Case) are published at 18.4 Geo. J. Legal Ethics
   1431 (2005). She also speaks on corporate governance issues at conferences of
   institutional investors, and was a guest panelist on a Washington, D.C. cable television
   show concerning hiring and working with stock brokers and financial advisors.

   Before joining Cohen Milstein, Ms. Mezzetti was a litigation associate of Shea & Gould
   of New York City.

   Ms. Mezzetti serves as a member of the Boards of Directors of The International Alliance
   for Women (a worldwide organization that supports and promotes women entrepreneurs,
   professionals and executives) and The Financial Women’s Association of New York.
   She is on the D.C. Advisory Board of The Joffrey Ballet of Chicago.

   Ms. Mezzetti graduated from the Columbus School of Law, Catholic University of
   America in 1980, where she served as a Vice-Chancellor of the Moot Court Board. In
   1986, she received a Master of Laws degree, with a specialty in Securities Regulation,
   from Georgetown University Law Center. Her bachelor's degree was awarded by
   Stonehill College (B.A, English., magna cum laude, 1977).

   Ms. Mezzetti is admitted to practice in the District of Columbia and New York.

   Andrew N. Friedman

   Andrew Friedman, a Partner at the Firm, joined Cohen Milstein in 1985. He is the head
   of the Consumer Protection practice group and a member of the Securities Fraud/Investor
   Protection practice group.

   In the consumer protection area, Mr. Friedman is litigating numerous class actions
   including cases on telephone company overcharges, Strugano v. Nextel Communications,
   Inc., et al. (Sup. Ct., L.A. Cnty, CA) and defective automobile engine coolants, In re
   General Motors Dex-Cool Products Liability Litigation (S.D. Ill). He has been
   instrumental in securing significant recoveries on behalf of thousands of consumers. He
   was one of the principal counsel in Snyder v. Nationwide Mutual Insurance Company
   (Sup. Ct., Onondaga Cnty, N.Y.), a class action that resulted in a settlement valued at
   between $85 million and $103 million. As one of two co-lead counsel in a class action
   against Thomson Consumer Electronics, Mr. Friedman reached a court-approved
   agreement that made up to $100 million available for persons who paid for unreimbursed
   repairs to televisions.

   Mr. Friedman also has been involved in many successful securities class actions. In July,
   2005, Mr. Friedman served as one of lead trial counsel at the trial of a certified class
   action in In re Globalstar Secururites Litigation in the United States District court for the
   Southern District of New York. Near the end of the second week of trial, a cash
   settlement of $20 million was reached for the benefit of the certified class. The
   settlement was preliminarily approved by Judge P. Kevin Castel, who was highly
   complimentary of counsel:
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          This case has been litigated by top trial lawyers, each of whom, as to both lead
          counsel and the other counsel in the case, have been exceptionally fine in their
          presentation of the evidence. Mr. Toll, Mr. Friedman, Mr. Shalov, their
          colleagues Mr. Devore, Ms. Peterson, have all done a terrific job in presenting the
          case for the plaintiffs.

   In addition, Mr. Friedman served as one of co-lead or principal counsel in Norman Frank
   et al. v. David L. Paul (recovery of over $18 million); In re Jiffy Lube Securities
   Litigation (D. Md.) (recovery of over $12 million); and In re Immunex Securities
   Litigation (W.D.Wash.) (recovery of $14 million, then the largest securities class action
   settlement in Seattle). Mr. Friedman was one of the Firm's attorneys selected by the
   County of Cuyahoga, Ohio to prosecute a lawsuit that sought to recover losses from the
   County's Secured Assets Fund Earnings Program (S.A.F.E.). The lawsuit alleged that
   broker/dealers and a financial institution assisted the County in engaging in unsuitable
   and inappropriate investments and trading activity. The case settled favorably for $9.5
   million.

   Mr. Friedman has been a speaker on numerous panels and legal education seminars on
   various topics, including securities class actions and accounting fraud. He was featured
   in a November 15, 1997 Washington Post article about securities class actions and
   profiled in the April 14, 2000 edition of The Washington Business Journal.

   Prior to joining Cohen Milstein, Mr. Friedman served as an attorney with the U.S. Patent
   and Trademark Office.

   Mr. Friedman graduated from Tufts University with a B.A. in Psychology (1980, magna
   cum laude, Phi Beta Kappa) and is a 1983 graduate of the National Law Center, George
   Washington University.

   He is admitted to practice in the District of Columbia and New York.

   Richard S. Lewis

   Richard Lewis, a Partner at the Firm, joined Cohen Milstein in 1987 and is the head of
   the Unsafe Drugs & Environmental Health Threats practice group, for both domestic and
   international matters.

   He has been appointed to serve as co-lead counsel in mass tort and class action cases
   including In re StarLink Corn Products (N.D. Ill) (settlement of $110 million) and In re
   PPA (asserting claims by users of unsafe over-the-counter medicines). He has also been
   appointed to the MDL Steering Committee in In re Prempro Products Liability Litigation
   (E.D. Ark.).

   In addition, Mr. Lewis served as lead counsel in numerous actions to obtain medical
   monitoring relief for communities exposed to toxic chemicals from hazardous waste
   disposal practices or unsafe drugs. These include In re Diet Drug Litigation (Fen-Phen)
   (E.D. Pa), which resulted in a $4 billion settlement providing medical monitoring in
   addition to individual personal injury awards in the hundreds of thousands of dollars, and
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   Harman v. Lipari, a Superfund case that resulted in a settlement providing medical
   monitoring for thousands of residents who lived on or played near a landfill. He has
   litigated both individual and class childhood lead poisoning cases and he is presently lead
   counsel in a case against the lead pigment industry, City of Milwaukee v. NL Industries
   Inc., which has succeeded on appeal. Mr. Lewis is also handling mass tort cases
   involving Vioxx, Celebrex, Bextra and Hormone Therapy, and environmental cases in
   India and Zambia.

   Mr. Lewis graduated from Tufts University with a B.A. in English (cum laude, 1976),
   and earned his Master's in Public Health degree from the University of Michigan (1981)
   and his law degree from the University of Pennsylvania (J.D., cum laude, 1986). He was
   Comments Editor for the University of Pennsylvania Law Review (1985-86) and
   authored the Comment, O.C.A.W. v. American Cyanamid: The Shrinking of the
   Occupational Safety and Health Act, U. Pa. L. Rev. (July, 1985). After law school, he
   was a law clerk for the Honorable Stanley S. Brotman, U.S. District Court for the District
   of New Jersey.

   Mr. Lewis is admitted to practice in the District of Columbia.

   Daniel S. Sommers

   Daniel Sommers, a Partner at the Firm, joined Cohen Milstein in 1988. He heads the
   Securities Fraud/Investor Protection practice group.

   Mr. Sommers currently is lead or co-lead counsel in numerous securities fraud class
   actions, including In re Compuware Securities Litigation (E.D. Mich.); In re Gilat
   Satellite Securities Litigation (E.D.N.Y.); and In re Interpool Securities Litigation
   (D.N.J.).

   Mr. Sommers played a major role in numerous cases which resulted in multi-million
   dollar recoveries for individual and institutional investors, including Steiner v. Southmark
   Corporation (N.D.Tex.) (over $70 million); In re PictureTel Inc. Securities Litigation
   (D.Mass.) ($12 million); In re Nextel Communications Securities Litigation (D.D.C.) (up
   to $27 million); and In re ECI Telecom Securities Ltd. Litigation (E.D.Va.) ($21.75
   million). Mr. Sommers also represented a privately-held overseas corporation in a
   multibillion-dollar, multi-party, complex action alleging fraud in a corporate acquisition.

   Mr. Sommers is a frequent commentator on issues relating to the federal securities laws
   and corporate governance issues. He was a guest panelist on “It’s Your Business,” a
   nationally syndicated television program, where he spoke on investor lawsuits, and has
   been quoted with respect to the federal securities laws in numerous publications including
   Investor Relations magazine. He also was a panelist at the George Washington
   University Law School, where he spoke on the practice of law from the plaintiff’s
   perspective. Mr. Sommers also has spoken before various institutional investor groups,
   including the California State Association of County Retirement Systems, to whom he
   spoke on corporate governance and fiduciary duties and liabilities.
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   He is a 1983 graduate of Union College, earning a B.A. in Political Science (magna cum
   laude), and a 1986 graduate of the National Law Center, George Washington University.

   He is admitted to practice in New York, New Jersey and the District of Columbia.

   Daniel A. Small

   Dan Small, a Partner at Cohen Milstein, joined the Firm in 1988 and is the head of the
   Antitrust practice group.

   Among the antitrust cases on which Mr. Small is currently working are: In re Microsoft
   Antitrust Litigation (D. Md.), in which he serves as chair of the experts committee and
   Rasmussen v. General Motors (Cir. Ct., Milwaukee Cty., Wisc.) (and related cases in
   eight other states), a state-wide class action alleging conspiracy among auto
   manufacturers and distributors to maintain dual price systems between the United States
   and Canada. He was co-lead counsel for the end-user plaintiffs in In re Buspirone
   Antitrust Litigation (S.D.N.Y.), a case alleging monopolization and market allocation
   claims against a brand name drug manufacturer for delaying generic entry to the market
   that settled for $90 million. Mr. Small also was lead counsel for the plaintiffs in Pease, et
   al. v. Jasper Wyman & Son, et al. (Super. Ct., Knox Cty., Me), a price-fixing class action
   brought on behalf of Maine wild blueberry growers. The case was tried in November
   2003, and the jury returned an $18.68 million verdict for the Class, which after trebling
   and other additions, resulted in a $56 million judgment.

   Mr. Small’s substantial appellate experience includes briefing and arguing Free v. Abbott
   Laboratories in the United States Supreme Court. The case presented the issue of
   whether a supplemental jurisdiction statute overruled Zahn v. International Paper Co.
   The Court split 4-4, with Justice O'Connor recusing herself. Mr. Small successfully
   briefed and argued appeals before the Seventh Circuit Court of Appeals in In re Brand
   Name Prescription Drug Antitrust Litigation (7th Cir. 1997) on the issue of whether the
   district court had subject matter jurisdiction, and in Paper Systems, Inc. v. Nippon Paper
   Industries Co., Ltd. (7th Cir. 2002) holding that the federal direct purchaser rule does not
   immunize a defendant from liability for the direct sales of its co-conspirators. Mr. Small
   also briefed and argued the appeal in Mack v. Bristol-Myers Squibb (Fla. 1st DCA 1996),
   the first opinion construing the Florida Deceptive and Unfair Trade Practices Act to
   permit indirect purchasers to sue for damages for antitrust violations.

   He has been a speaker at events organized by the American Antitrust Institute, the
   Conference Board, the American Bar Association and the District of Columbia Bar,
   among others.

   Mr. Small is a 1981 graduate of Colgate University, receiving a B.A. (cum laude) in
   History. He graduated from the American University’s Washington College of Law in
   1986 and joined Cohen Milstein after serving as Law Clerk to the Honorable Roger
   Vinson, U.S. District Judge for the Northern District of Florida (1986 to 1988).

   Mr. Small is admitted to practice in Maryland and the District of Columbia.
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   Joseph M. Sellers

   Joseph Sellers, a Partner at the Firm and head of the Civil Rights & Employment practice
   group, joined Cohen Milstein in 1997.

   Mr. Sellers has represented victims of discrimination and illegal employment practices
   individually and through class actions. He has tried several civil rights class actions to
   judgment before juries and has argued more than 25 appeals in the federal and state
   appellate courts, including the United States Supreme Court. He has served as class
   counsel, and typically lead counsel, in more than 30 civil rights and employment class
   actions.

   Those cases have included: Beck. v. Boeing Company (W.D. Wash.), which included a
   class of more than 28,000 women employees at Boeing facilities in Washington state
   alleging sex discrimination in pay and overtime decisions; Conway, et al. v. Deutsch
   (E.D. Va.), for a class of all female undercover case officers at the CIA alleging sex
   discrimination in promotions and job assignments; Dukes v. Wal-Mart Stores, Inc. (N.D.
   Cal.), where the Court has certified the largest class in such a case: more than 1.5 million
   women employees at Wal-Mart stores, alleging sex discrimination in promotions and pay
   decisions; Johnson, et al. v. Freeh (D.D.C.), for a class of African-American FBI special
   agents alleging racial discrimination in promotion and job assignments; Keepseagle v.
   Venamen (D.D.C.), for a class of Native American farmers and ranchers denied credit
   opportunities by USDA; and Neal v. Director, D.C Dept. of Corrections (D.D.C.), the
   first sexual harassment class action tried to a jury, for a class of women correctional
   employees and women and men subject to retaliation at the D.C. Department of
   Corrections.

   Throughout his career, Mr. Sellers has also been active in legislative matters. He has
   testified more than 20 times before Committees of the United States Senate and House of
   Representatives on various civil rights and employment matters. He worked on the
   passage of the Civil Rights Act of 1991 and the Americans with Disabilities Act of 1990.

   Mr. Sellers has trained lawyers at the U.S. Equal Employment Opportunity Commission
   and the U.S. Department of Justice on the trial of civil rights cases and has lectured
   extensively throughout the country on various civil rights and employment topics. He
   was an Adjunct Professor at the Washington College of Law at American University,
   where he taught Employment Discrimination law, and at the Georgetown University Law
   Center, where he taught a course on Professional Responsibility.

   He served on the Clinton/Gore Transition Team in 1992 and 1993. He headed the teams
   reviewing the operations of the EEOC, the Office of the Assistant Attorney General for
   Civil Rights, and various sections of the Civil Rights Division of the Department of
   Justice. He also served as a Co-Chair of the Task Force of the D.C. Circuit on Gender,
   Race and Ethnic Bias and was appointed by panels of the D.C. Circuit Court of Appeals
   and the U.S. District Court for the District of Columbia.
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   Mr. Sellers was recognized as one of the top lawyers in Washington by Washingtonian
   Magazine in 2002 and again in 2004, and as one of the top dozen employment lawyers in
   Washington by The Legal Times. He is a professionally-trained mediator and has served
   as the President of the Washington Council of Lawyers.

   Prior to joining Cohen Milstein, Mr. Sellers served as head of the Employment
   Discrimination Project of the Washington Lawyers' Committee for Civil Rights and
   Urban Affairs for over 15 years.

   Mr. Sellers received a J.D. from Case Western Reserve School of Law (1979), where he
   served as Research Editor of the Case Western Reserve Law Review, and a B.A. in
   American History and Literature from Brown University (1975).

   Mr. Sellers is admitted to practice in the District of Columbia.

   Mark S. Willis

   Mark Willis joined the Firm in 1989 and is a Partner in the Securities Fraud/Investor
   Protection practice group. Mr. Willis heads the Firm's international securities practice as
   well as its domestic client development work.

   Mr. Willis focuses his practice on investor protection issues, including the enforcement of
   the federal securities laws. In that role he works with a number of European and
   domestic institutional investors on investor protection and corporate governance matters.
   He currently acts as co-lead counsel in the In re Parmalat Securities Litigation
   (S.D.N.Y.), the largest fraud in European corporate history that is frequently referred to
   as Europe’s “Enron”. Mr. Willis represents Italian, French and Belgian institutions in
   that action. He also represented Brussels-based KBC Asset Management in the In re
   Royal Dutch/Shell Securities Litigation. Among other notable cases, Mr. Willis litigated
   against Caremark International in which Caremark was accused of federal Medicare
   fraud, subsequently pled guilty and paid the U.S. Government a fine of approximately
   $160 million and $25 million in a civil settlement. Mr. Willis also litigated against
   National Health Labs, which resulted in a $65 million settlement, and settled claims
   against Nextel Communications and Motorola.

   Mr. Willis has written extensively on corporate, securities and investor protection issues,
   often with an international focus. He authored Chapter 60 of Securities Law Techniques,
   titled Admission of Securities to Official Listing on Stock Exchanges Within the European
   Union and the Subsequent Disclosure Obligations (1998). He published a related article
   in the Fall 1997 issue of the International Law News, A Brief Overview of the European
   Union's Efforts to Harmonize the Requirements for Listing Securities. He also authored
   Chapter 196 of Business Organizations with Tax Planning, titled Company Laws of the
   European Union (1998). Mr. Willis wrote about investor protection issues in an article
   published in the July/August 2003 edition of Professional Investor, a United Kingdom-
   based journal for institutional investors and investment professionals. A second article,
   co-authored by Mr. Willis, appeared in the same publication’s May 2005 edition. He was
   also the co-author of the Comment entitled Corporation Code Sections 309 and 1203:
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   California Redefines Directors' Duties Towards Shareholders, Pepperdine Law Review,
   Volume 16, No. 4 (1989).

   Mr. Willis has been a frequent speaker at institutional investor conferences on the issues
   of investor protection through the federal securities laws and the importance of using
   corporate governance measures to force companies to put the interests of their
   shareholders first. In addition to numerous forums in the United States, Mr. Willis was
   invited to address these topics at institutional investor conferences held in London and
   Paris in January 2003 and spoke at similar conferences in Munich and Milan in the
   Spring of 2005. He also addressed corporate governance issues at the Annual Conference
   of the National Council on Teacher Retirement in October 2004.


   Mr. Willis obtained a Masters in International Law, with an emphasis in securities
   regulation, from the Georgetown University Law Center in 1993. He graduated from
   Pepperdine University School of Law in 1989 where he was a member of the Moot Court
   Team and won the Dalsimer Moot Court Competition. Mr. Willis received his B.A. in
   English History from Brigham Young University in 1986.

   Mr. Willis is admitted to practice in the District of Columbia and Massachusetts.

   Marc I. Machiz

   Marc Machiz, a Partner at Cohen Milstein, joined the Firm in 2000 and is the head of the
   Employee Benefits (ERISA) practice group. He is the resident Partner of the
   Philadelphia office.

   Mr. Machiz litigates ERISA class actions involving inappropriate pension plan
   investments, the inappropriate investment in company stock by 401(k) plans, and illegal
   plan terminations including, among others, Mehling, et al. v. New York Life Insurance
   Co., et al., (E.D. Pa.) and In re Williams Company ERISA Litigation (N.D. Okla).

   He joined the Plan Benefits Security Division (“PBS”) of the Office of the Solicitor of
   Labor as a trial attorney in 1978, and was appointed Assistant Counsel for Fiduciary
   Litigation in 1982. At the start of 1984, he joined Beins, Axelrod and Osborne, P.C.
   practicing general labor and ERISA law on behalf of unions and multiemployer plans. In
   1986 he returned to the Department of Labor as Counsel for General Litigation at PBS,
   and from 1988 to 2000 held the position of Associate Solicitor, heading the Division. As
   Associate Solictor, Mr. Machiz was the Department of Labor's chief ERISA lawyer
   charged with responsibility for all enforcement litigation brought by the Secretary of
   Labor under the statute, which governs the vast majority of privately sponsored health,
   welfare and pension plans. He was also responsible for all legal advice under the statute
   provided to the Pension & Welfare Benefits Administration, which administers Title I of
   ERISA.

   Mr. Machiz worked to institute the Department's innovative amicus program which
   aggressively advocated the Department's views throughout the judicial system on a wide
   range of ERISA issues ranging from the need to limit ERISA preemption of state worker
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   and consumer protection laws to the need to strengthen participants' rights and remedies
   under the Act.

   Mr. Machiz's expertise in ERISA has been recognized by his colleagues in the ERISA
   bar, who made him a Charter Fellow of the American College of Employee Benefits
   Counsel. Mr. Machiz is a frequent speaker on ERISA issues for the ABA, ALI-ABA,
   and private seminars, and has served as plaintiffs' co-chair of subcommittees of the
   Employees Benefits Committee of the ABA's Labor Section. He is also a member of the
   BNA Pension and Benefits Reporter Advisory Board.

   Mr. Machiz has authored several articles including Understanding DOL’s New Class
   Exemption for the Release of Claims and Extensions of Credit in Connection with
   Litigation, Pension & Benefits Reporter, Vol. 31, No. 2, January, 2004; and ESOPS,
   ERISA, and Employer Stock: A Litigator's Approach, ATLA Commercial Litigation
   Section Newsletter, Volume 7, Number 3 (Spring/Summer 2001).

   He attended the University of Pennsylvania, where he earned a B.A. in History, and
   received his law degree from the University of California at Berkeley (Boalt Hall) in
   1978.

   Mr. Machiz is admitted to practice in the District of Columbia and Pennsylvania.

   Paul T. Gallagher

   Paul Gallagher, a Partner at the Firm, joined Cohen Milstein in 1996. He is a member of
   the Antitrust and International practice groups.

   In the antitrust area, he has been involved in the successful prosecution of price-fixing
   litigation against manufacturers of explosives, which resulted in a $70 million settlement;
   a case against manufacturers of high fructose corn syrup for alleged price-fixing, which
   resulted in a settlement of over $500 million; abuse of monopoly claims against U.S.
   Tobacco Company; and price-fixing claims against Mercedes-Benz and a number of its
   regional dealers.

   In the last several years, Mr. Gallagher has developed an expertise in issues involving
   International antitrust litigation. He played a major part in the international Auction
   Houses price-fixing litigation, which settled for $40 million. This suit was the first time
   that an international class, comprised solely of non-U.S. citizens, obtained compensation
   under the U.S. antitrust laws. He also argued and obtained a favorable D.C. Circuit Court
   of Appeals decision in the international In re Vitamins Antitrust Litigation, which has had
   a significant impact on antitrust jurisprudence and was characterized by one academician
   as “one of the most expansive antitrust decisions of the last 30 years.”

   In the human rights area, Mr. Gallagher played a prominent role in the historic litigation
   against major Swiss banks for withholding assets deposited by persecutees fleeing the
   Nazis prior to and during World War II. This litigation settled for $1.25 billion. He also
   played an active role in the litigation and resolution of claims against the German
   government and industry for, among other claims, the use of persecuted persons to
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   perform slave labor during the War. That case resulted in a settlement of over $5.2
   billion. Mr. Gallagher was honored by the Government of Poland for his contributions to
   this effort.

   Mr. Gallagher received a B.A. in Government and Politics (1986) from George Mason
   University and graduated from the Marshall-Wythe School of Law of the College of
   William & Mary in 1992. He was a member of the William & Mary Law Review, as
   well as the Law Review of the University of Cincinnati School of Law, where he
   attended his first year of law school.

   Mr. Gallagher is admitted to practice in the District of Columbia and Virginia.

   Linda P. Nussbaum
   Linda Nussbaum joined the Firm in 2001 and is the resident Partner of the New York
   City office and a member of the Antitrust practice group.

   She is presently a lead or co-lead counsel in a number of significant antitrust class actions
   pending throughout the United States including: In re Remeron Direct Purchaser
   Antitrust Litigation (D.N.J.); In re Microcrystalline Cellulose Antitrust Litigation (E.D.
   Pa.); In re K-Dur Antitrust Litigation (D.N.J.); In re Plastics Additives Antitrust
   Litigation (E.D. Pa); In re Children's Ibuprofen Oral Suspension Antitrust Litigation
   (D.D.C.); In re Foundry Resins Antitrust Litigation, (E.D. Oh.); and In re DDAVP
   Litigation (S.D.N.Y.).

   She has recently served as a lead counsel in a number of antitrust class actions that have
   resolved favorably for the plaintiff class including In re Lorazepam and Clorazepate
   Antitrust Litigation, (D.D.C.), where, in approving the $35 million settlement, Chief
   Judge Hogan commented, “Obviously, the skill of the attorneys, and I’m not going to
   spend the time reviewing it, I’m familiar with counsel, and they, as I said, are among the
   best antitrust litigators in the country;” In re Relafen Antitrust Litigation (D. Mass); and
   Oncology & Radiation Associates, P.A. v. Bristol Myers Squibb Co. (D.D.C.) ($65
   million settlement).

   Ms. Nussbaum is a member of the American Law Institute. She has lectured at the ABA
   Antitrust Section Spring Meeting and at The University of San Francisco Pharmaceutical
   Antitrust Seminar.

   Ms. Nussbaum received her undergraduate degree in Sociology and Journalism, magna
   cum laude, from Brooklyn College of the City University of New York in 1974, where
   she was a member of Phi Beta Kappa. She received her law degree from the National
   Law Center at George Washington University, where she graduated with honors in 1977.
   She received an LL.M. degree in Taxation from the New York University School of Law
   in 1984.

   Ms. Nussbaum is admitted to practice in New York and the District of Columbia.

   Stewart M. Weltman
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   Stewart Weltman joined the Firm in 2002 and is a Partner in the Antitrust practice group.
   In June, 2005, after having been in the Firm’s Washington, DC office for two and one
   half years, Mr. Weltman returned to Chicago to head the firm’s Chicago office on a full
   time basis.
   Mr. Weltman is currently acting as co-lead counsel in the following antitrust cases: In Re
   Carbon Black Antitrust Litigation ( D.C. Mass.), in which the court recently certified a
   nationwide class; In Re EPDM Antitrust Litigation (D.C. Conn.), in which two
   defendants have settled claims for a total of $55 million; In Re PCP Antitrust Litigation
   (D.C. Conn.), in which one defendant has settled claims for approximately $40 million;
   and In Re Pressure Sensitive Labelstock Antitrust Litigation (M.D. Pa.). Mr. Weltman
   was a member of the Firm’s team in In re Vitamins Antitrust Litigation (D.D.C.), which
   resulted in a trial verdict in favor of the plaintiffs and the class of $49.5 million before
   trebling.

   In addition to his antitrust responsibilities, Mr. Weltman also is currently acting as lead
   attorney or lead counsel in several securities fraud litigations. He is currently the lead
   attorney representing Pacific Life Insurance Company in its individual action brought
   against various underwriter defendants arising out of the WorldCom frauds. He also has
   been a leading lawyer in the redevelopment of what has become known as “holder”
   claims (shareholders who are induced to hold their securities by misrepresentations and
   omissions). He is co-lead counsel in the Mercury Finance class action (Cir. Ct., Cook
   Cnty., Ill.), one of the first of such “holder” class actions. In past cases, he served as
   Derivative Plaintiffs’ Lead Counsel in a securities fraud and derivative/breach of
   fiduciary duty case in which a $33 million settlement was reached with the former
   directors and officers of the Public Service Company of New Mexico. He also served as
   co-lead counsel in Benfield v. Steindler and General Electric Co. (S.D. Ohio), a
   derivative action in which a settlement of $21 million was reached.

   Mr. Weltman has been an adjunct instructor at The John Marshall Law School, and has
   served as a lecturer and panel member for numerous FDIC and RTC investigator training
   seminars and for AICPA Litigation Support Section seminars. Mr. Weltman has been a
   lecturer for the Illinois Institute for Continuing Legal Education, and he co-authored an
   article for the American Bar Association Antitrust magazine, analyzing the Chicago
   School’s influence on the Seventh Circuit’s antitrust jurisprudence as of 1989.

   Prior to joining Cohen Milstein, Mr. Weltman was a partner of Much Shelist Freed
   Denenberg Ament & Rubenstein P.C., and then a sole practitioner.

   Mr. Weltman graduated from Roosevelt University with a B.A. in English Literature in
   1975 and from the John Marshall Law School (J.D., High Distinction, 1978), where he
   was a member of the Law Review.

   Mr. Weltman is admitted to practice in Illinois and the District of Columbia.

   Christine E. Webber
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   Christine Webber, a Partner at the Firm and a member of the Civil Rights & Employment
   Practice group, joined Cohen Milstein in 1997. She is the Partner in charge of the law
   clerk and summer associate program.

   Ms. Webber represents plaintiffs in class action employment discrimination and Fair
   Labor Standards Act cases. Ms. Webber's current docket includes Dukes v. Wal-Mart
   Stores, Inc. (N.D. Cal.), a certified class action for 1.5 million current and former female
   employees of Wal-Mart with complaints of discrimination in pay and promotion; Hnot v.
   Willis (S.D.N.Y.), representing a class of women at the vice-president level and above
   challenging sex discrimination in compensation and promotions; and Jenkins v. BellSouth
   (N.D. Ala.), representing a proposed class of African-American employees challenging
   race discrimination in promotions and compensation.

   She represented plaintiffs in Beck v. The Boeing Co. (W.D. Wash.), a class action
   alleging sex discrimination in compensation and promotions which settled in 2004 for
   $72.5 million. She was counsel in Trotter v. Perdue (D. Del.), representing plaintiffs
   who were wrongly denied payment of overtime wages, and obtaining a $10 million
   settlement. She is also representing workers in a similar case against Tyson Foods, Inc.

   In 2004, Ms. Webber was named one of the Top Lawyers in Washington, D.C. by
   Washingtonian Magazine.

   Prior to joining Cohen Milstein, Ms. Webber received a Women's Law and Public Policy
   fellowship and worked for four years at the Washington Lawyers' Committee for Civil
   Rights and Urban Affairs in their Equal Employment Opportunity Project. She worked
   on a variety of employment discrimination cases, and focused in particular on the sexual
   harassment class action Neal v. Director, D.C. Department of Corrections, et al. Ms.
   Webber participated in the trial of this ground-breaking sexual harassment class action in
   1995. Ms. Webber also tried the race discrimination case Cooper v. Paychex (E.D. Va.),
   and successfully defended the plaintiffs' verdict before the Fourth Circuit.

   Ms. Webber is a member of the National Employment Lawyers' Association (NELA) and
   co-chair of their Class Action Committee, and is a member of the Board of Advisors for
   the Annual Review of Gender and Sexuality Law of the Georgetown Journal of Gender
   and Law.

   She graduated from Harvard University with a B.A. in Government (magna cum laude,
   1988) and the University of Michigan Law School (J.D., magna cum laude, 1991, Order
   of the Coif). Following law school, Ms. Webber clerked for the Honorable Hubert L.
   Will, United States District Judge for the Northern District of Illinois.

   Ms. Webber is admitted to practice in Illinois and the District of Columbia.

   Richard A. Koffman

   Richard Koffman, a Partner at the Firm, joined Cohen Milstein in 2003 and is a member
   of the Antitrust practice group. He is also co-chair of the firm’s Pro Bono Committee.
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   He is currently serving as counsel for plaintiffs in, among other cases, In re Rubber
   Chemicals Antitrust Litigation (N.D. Ca.); In re Polyester Staple Antitrust Litigation
   (W.D.N.C.); and Hwang Geum Joo, et al. v. Japan (D.D.C.).

   Mr. Koffman came to Cohen Milstein after four years as a senior trial attorney with the
   Antitrust and Civil Rights Divisions of the United States Department of Justice. Prior to
   joining the Department of Justice, he spent seven years in private practice, with Fine,
   Kaplan and Black in Philadelphia (working primarily on antitrust class actions and other
   complex commercial litigation) and then with Bernabei & Katz in Washington, D.C.
   (handling employment discrimination cases). While at Fine Kaplan, Mr. Koffman was
   actively involved in litigating several successful antitrust class actions on behalf of
   plaintiffs and classes, including In re Nasdaq Market-Makers Antitrust Litigation
   (S.D.N.Y.) (settled for more than $1 billion); In re Polypropylene Carpet Antitrust
   Litigation (N.D. Ga.); In re Commercial Explosives Antitrust Litigation (D. Utah); and In
   re Drill Bits Antitrust Litigation (S.D. Tex.).

   Immediately after law school, he served as a judicial clerk for Judge James B. McMillan
   of the Western District of North Carolina, and for Judge Anthony J. Scirica of the U.S.
   Court of Appeals for the Third Circuit.

   Mr. Koffman is the author of It’s Not The First Time: Fudging the Truth in Discovery
   Proceedings Didn’t Start with Clinton, Legal Times, August 24, 1998.

   He is a graduate of Yale Law School (J.D., 1990), where he was a Senior Editor of the
   Law Journal, and Wesleyan University, from which he received a B.A., with honors, in
   English (1986).

   Mr. Koffman is admitted to practice in the District of Columbia.

                        Attorney Profiles – Of Counsel & Associates

   Scott L. Adkins

   Scott Adkins joined the firm in 2005 as an associate in the Securities Litigation Group,
   where he represents defrauded investors in, among other cases, In re Sourcecorp
   Securities Litigation (N.D. Tex.) and In re Xybernaut Securities Litigation (E.D. Va.).
   Both cases involve accounting irregularities and alleged misconduct by former directors
   and officers.

   Before joining the firm, Mr. Adkins spent several years at Skadden Arps and Lerach
   Coughlin, where Mr. Adkins defended and prosecuted some of the more noteworthy
   cases to arise under the Private Securities Litigation Reform Act of 1995 (“PSLRA”) and
   the Securities Litigation Uniform Standards Act of 1998 (“SLUSA”).
   For example, at Skadden Arps, Mr. Adkins helped defend a panoply of actions filed after
   health care giant McKesson restated its earnings and saw $9 billion in market
   capitalization evaporate. At Lerach Couglin, Mr. Adkins prevailed in In re Sawtek
   Securities Litigation when he persuaded a district court that Section 804(b) of Sarbanes-
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   Oxley revived previously time-barred claims – a real victory for investors in only one of
   two cases to so hold.

   Mr. Adkins’s clients have included major airlines, hedge funds, accounting firms,
   software companies, chip makers, directors and officers of public and private companies,
   as well as individual investors. He has successfully represented these clients at the trial
   and appellate levels and in regulatory enforcement actions. Two of Mr. Adkins’s cases
   for individual investors led to those investors’ recovering 100% of their losses.

   Mr. Adkins writes regularly about the federal securities laws. His most recent article,
   “Circuits Split Over Jurisdiction To Review SLUSA Remand Orders,” 33 Securities
   Regulation Law Journal 235 (Fall 2005), explains how the U.S Court of Appeals for the
   Seventh Circuit recently misinterpreted SLUSA’s federal jurisdiction provisions and
   issued an appellate decision in the absence of appellate jurisdiction to do so in Kircher v.
   Putnam Funds, a case now pending certiorari before the United States Supreme Court.

   After being honorably discharged from the United States Marine Corps, Mr. Adkins
   graduated from Florida Atlantic University with a B.A. in Chemistry in 1994. Then, in
   1997, Mr. Adkins graduated Order of the Coif and with honors from The George
   Washington University Law School. After graduating law school, Mr. Adkins served
   first as law clerk to The Honorable Daniel T.K. Hurley, United States District Court,
   Southern District of Florida. Then, Mr. Adkins served as law clerk to The Honorable
   Alice M. Batchelder, United States Court of Appeals for the Sixth Circuit.

   Mr. Adkins is admitted to practice in California and Delaware.


   R. Joseph Barton

   Joseph Barton joined Cohen Milstein as an Associate in 2001 and is a member of the
   Employee Benefits, Securities Fraud/Investor Protection and Antitrust practice groups.

   Since joining the Firm, Mr. Barton has been actively involved in a number of class action
   employee benefit cases, including a case against New York Life Insurance Company,
   which alleges ERISA and RICO violations regarding the investment of the company’s
   pension and 401(k) plans; and most recently a case against Qwest Communications
   alleging that it violated ERISA regarding certain benefits provided to its retirees.

   Mr. Barton is or has been active in a number of securities fraud lawsuits including In re
   Physician Corporation of America Securities Litigation (S.D.Flor.) (settlement of $10.2
   million); In re MCI Securities Litigation (D.D.C.); and In re Gilat Satellite Networks
   Securities Litigation (E.D.N.Y.). He also represents limited partners of Lipper
   Convertibles, a now-defunct hedge fund, in a class action arbitration against the former
   general partners, and in federal court litigation against the outside auditor. Mr. Barton
   worked on a number of antitrust actions, including Ferko v. National Association of Stock
   Car Racing (“NASCAR”) (E.D. Tex.) and In re High Fructose Corn Syrup Antitrust
   Litigation (D.Minn.), (settled for more than $500 million).
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   Mr. Barton worked on several pro bono cases, as well. Along with the non-profit law
   firm Midwest Environmental Advocates, Mr. Barton provided pro bono representation to
   the grassroots citizens’ action group Clean Water Action Council of Northeastern
   Wisconsin, with regard to natural resource damages in the Fox River area of Wisconsin.
   Mr. Barton currently is representing a client in D.C. Superior Court against her former
   employer, which refused to pay her minimum wage and/or overtime.

   Mr. Barton is the author of Determining the Meaning of “Direct Evidence” in
   Discrimination Cases Within the Eleventh Circuit: Why Judge Tjoflat was (W)right, 77
   Fla. B.J. 42 (2003), Drowning in a Sea of Contract: Application of the Economic Loss
   Rule to Fraud and Negligent Misrepresentation Claims, 41 Wm. & Mary L. Rev. 1789
   (2000), and Utilizing Statistics and Bellwether Plaintiff Trials: What do the Constitution
   and the Federal Rules of Civil Procedure Permit?, 8 Wm. & Mary Bill Rts. J. 199
   (1999). Each of Mr. Barton’s published articles have been cited by both courts and
   commentators.

   Prior to joining the Firm, Mr. Barton served as a judicial law clerk to the Honorable
   Lenore C. Nesbitt, United States District Judge for Southern District of Florida (2000-
   2001).

   Mr. Barton received his undergraduate degree from the College of William & Mary
   (B.A., 1991) with a major in History and minor in Classical Studies, and graduated from
   the College of William & Mary, Marshall-Wythe School of Law (J.D., Order of the Coif,
   2000). In law school, he received the Lawrence W. I’Anson Award for outstanding
   student scholarship, character and leadership, the William B. Spong Award for
   professionalism and ethics, the Robert R. Kaplan Award for excellence in legal writing
   and was a member of Order of the Barrister. He served on the Editorial Board of the Law
   Review and was a staff member of the Bill of Rights Journal. Mr. Barton was a member
   of the William & Mary National Trial Team and served as Vice-President of the William
   & Mary Chapter of the Association of Trial Lawyers of America.

   Mr. Barton is admitted to practice in California and the District of Columbia.

   Elizabeth A. Berney

   Elizabeth Berney joined the Firm as Of Counsel in 2005 and is a member of the
   Securities Fraud/Investor Protection practice group.

   Her current work includes several securities fraud class actions, including cases in federal
   courts in New Jersey, Florida, Michigan, and California.

   Ms. Berney is the co-author (with Melvyn Weiss) of Restoring Investor Trust in Auditing
   Standards and Accounting Principles, published in the Harvard Journal of Legislation
   (Winter, 2004). She also has written extensive materials for legal seminars and
   speeches. She served as a guest lecturer for a Cardozo Law School ethics class, was a
   featured speaker and panelist for the Women’s National Book Association, and appeared
   in a German television documentary. She is a member of the Federal Bar Council.
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   Prior to joining Cohen Milstein, Ms. Berney was an active member of the plaintiffs’ legal
   teams in leading securities fraud, consumer, and human rights class action including the
   Enron and Xerox shareholder litigations, the Ford Explorer/Firestone Tire litigation, and
   the Holocaust Assets cases.

   From 2000-2005, Ms. Berney practiced law at the plaintiffs’ class action firm of Milberg
   Weiss Bershad & Schulman, LLP. Previously, she worked at Dewey Ballantine in the
   tax and municipal bonds fields, where she obtained the rulings needed to finance
   construction of the Intrepid Museum; at Gilbert Segall and Young (now part of Holland
   & Knight), where she focused on foreign sovereign immunities and general commercial
   litigation; as in-house counsel for a college; and in her own legal and literary practice,
   where she negotiated agreements for computer companies and notable authors.

   Ms. Berney is an avid amateur violinist. She played violin in the Chicago Civic
   Orchestra while in law school, and, more recently, has played in the New York City Bar
   Association Lawyers’ Orchestra and COSMOS (the Chamber Orchestra of Science and
   Medicine).

   Ms. Berney is a graduate of Cornell University earning a B.S. in Industrial and Labor
   Relations with a minor in Music (with honors, 1975) and the University of Chicago Law
   School (J.D., 1978).

   Ms. Berney is admitted to practice in New York and Pennsylvania.

   Benjamin D. Brown

   Benjamin Brown joined the Firm as an Associate in May, 2005 and is a member of the
   Antitrust practice group. He has extensive experience in complex litigation and class
   actions.

   Mr. Brown came to Cohen Milstein after four years as a trial attorney with the Antitrust
   Division of the United States Department of Justice. While there, Mr. Brown led and
   assisted in numerous investigations of potential anticompetitive conduct and mergers, as
   well as numerous criminal prosecutions. Prior to joining the Department of Justice, he
   spent three years as a litigator in private practice: first with Heller Ehrman White &
   McAuliffe in San Francisco, California, working primarily on complex commercial
   litigation, including class actions, and then with Covington & Burling in Washington,
   D.C., handling insurance coverage and antitrust litigation.

   Mr. Brown is a graduate of Harvard Law School (J.D., cum laude, 1997), where he was
   on the Executive Board of the Harvard Civil Rights - Civil Liberties Law Review, and the
   University of Wisconsin - Madison (B.A.in Philosophy, with distinction, Phi Beta Kappa,
   1992). After law school, he served as a judicial law clerk for Chief Judge Juan R.
   Torruella of the U.S. Court of Appeals for the First Circuit.

   Mr. Brown is admitted to practice in California, admission pending in the District of
   Columbia.
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   Michael W. Byrne

   Michael Byrne joined Cohen Milstein as an Associate in 2004 and is a member of the
   Antitrust practice group.

   He currently works on cases against Microsoft for violations of Section 2 of the Sherman
   Act and various state anticompetitive statutes, as well as various cases alleging price
   fixing and other antitrust violations.

   Prior to joining the Firm, Mr. Byrne served as Law Clerk to the Honorable Robert J.
   Kapelke on the Colorado Court of Appeals.

   Mr. Byrne received his undergraduate degree in Economics from the University of
   Virginia (B.A., 1997) and graduated with honors from the National Law Center, George
   Washington University (J.D., 2002). While in law school, Mr. Byrne was a staff member
   of the International Law Review and performed research for the National Committee to
   Prevent Wrongful Executions, and was a Judicial Intern to the Honorable Peter H. Ney on
   the Colorado Court of Appeals.

   Mr. Byrne is admitted to practice in Colorado and the District of Columbia.

   Christopher J. Cormier

   Christopher Cormier joined Cohen Milstein in 2003 as an Associate in the Antitrust
   practice group.

   Mr. Cormier is currently involved in In re Terazosin Hydrochloride Antitrust Litigation,
   (S.D. Fla.) ($30 million settlement pending); Alco Industries, Inc. v. BASF Corp., et al.,
   (D.N.J.) (representing a putative class of direct purchasers of several chemicals in a price-
   fixing case); and In re Parcel Tanker Shipping Services Antitrust Litigation (D. Conn.)
   (arbitration pending). He has worked on In re Relafen Antitrust Litigation (D. Mass.)
   ($175 million settlement) and Pease v. Jasper Wyman & Son, Inc., et al. (Knox Cnty Sup.
   Ct., ME) (trebled jury verdict of $56 million).

   Prior to joining the Firm, Mr. Cormier was an associate at the Baltimore firm of Semmes,
   Bowen & Semmes, where he focused on commercial litigation matters including antitrust
   and insurance coverage cases.

   Mr. Cormier graduated from the University of Virginia with a B.A. in Government,
   (1999) and from the American University's Washington College of Law (J.D., magna
   cum laude, 2002). Mr. Cormier served as a judicial intern to the Honorable Deborah K.
   Chasanow, United States District Court for the District of Maryland, and as a legal extern
   in the Antitrust Division of the United States Department of Justice.

   Mr. Cormier is admitted to practice in Maryland.

   Joshua S. Devore
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   Joshua Devore, an Associate at the Firm, joined Cohen Milstein in 2000 as a member of
   the Securities Fraud/Investor Protection practice group.

   He is currently working on several active securities fraud class actions (including the
   litigation on the collapse of the Italian dairy conglomerate Parmalat), and in numerous
   actions against securities industry analysts for issuing misleading analyst reports. He has
   actively participated in a number of cases that resulted in substantial recoveries for
   investors, including In re Lucent Technologies, Inc. Securities Litigation (settlement of
   approximately $575 million) and In re PSINet, Inc. Securities Litigation (settlement of
   $17.8 million).

   Mr. Devore graduated from Rice University in 1997 with a B.A. in Chemistry, and
   obtained his law degree from Georgetown University Law Center in 2000. While at
   Georgetown, Mr. Devore served as an Executive Editor of the Georgetown International
   Environmental Law Review. Mr. Devore is co-author of State Court Class Actions:
   Trends and Issues, in National Institute on Class-Actions, C-1 (ABA CLE 1999).

   Mr. Devore is admitted to practice in the District of Columbia and Virginia.

   George Farah

   George Farah joined the Firm as an Associate in September, 2005 and is a member of the
   Antitrust practice group.

   Prior to joining the Firm, he worked on several issue-oriented campaigns. He is the
   founder of Open Debates, a nonprofit, nonpartisan Washington-based organization
   committed to reforming the presidential debate process. Before attending law school,
   Farah worked to expose the harms of media concentration and the IMF’s structural
   adjustment programs at Ralph Nader’s Center for the Study of Responsive Law.

   Mr. Farah is the author of the book No Debate: How the Republican and Democratic
   Parties Secretly Control the Presidential Debates from Seven Stories Press (April,
   2004). His articles have been published in The Boston Globe, The Philadelphia Inquirer,
   The Denver Post, The Christian Science Monitor, Fort Lauderdale Sun-Sentinel, Extra!
   Magazine, and other publications.

   Mr. Farah has appeared on dozens of television programs, including “Nightline,” “NOW
   with Bill Moyers,” “20/20,” “CBS Evening News with Dan Rather,” “NBC Nightly
   News with Tom Brokaw,” “CNN Lou Dobbs Tonight,” and “Countdown with Keith
   Olbermann.” Mr. Farah has been interviewed on over 100 radio shows, including NPR’s
   “To the Point,” “Keep Hope Alive With Jesse Jackson,” “Democracy Now!,”
   “CounterSpin,” and “Judicial Watch Report.”

   Farah has given several talks on the political process at colleges and universities, hosted
   numerous televised press conferences and was a Newsmaker at the National Press Club
   in 2004.
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   Mr. Farah is a graduate of Harvard Law School (J.D., 2005), and Princeton University
   (B.A., Woodrow Wilson School of Public and International Affairs, 2000). Mr. Farah
   was the recipient of a Paul and Daisy Soros Fellowship, and a delegate to the 2005
   International Achievement Summit.

   Mr. Farah is pending admission to practice in New York.

   Shelly Friedland

   Shelly Friedland joined the Firm’s New York office in 2005 as an associate in the
   Antitrust practice group.

   Ms. Friedland is currently involved in In re DDAVP Direct Purchaser Antitrust
   Litigation (S.D.N.Y.), In re Microcrystalline Cellulose Antitrust Litigation (E.D.Pa.), and
   In re Rubber Chemicals Antitrust Litigation (N.D.Ca.).

   Prior to joining Cohen Milstein, Ms. Friedland was an associate in the litigation
   department at Kronish Lieb Weiner & Hellman, where she practiced commercial
   litigation and white collar criminal law. While at Kronish Lieb, Ms. Friedland
   represented the family of a victim of the September 11 World Trade Center bombing in
   its application to the federal Victim Compensation Fund, and a defendant seeking to
   overturn a wrongful murder conviction. Previously, she was an associate in the litigation
   department at Paul, Weiss, Rifkind, Wharton & Garrison.

   Ms. Friedland received a bachelor’s degree in economics from Columbia University
   (1987), graduating summa cum laude as a member of Phi Beta Kappa. She spent her
   junior year studying at the Hebrew University of Jerusalem and while at Columbia, was a
   member of the Columbia University Glee Club. Ms. Friedland received her law degree
   from Harvard Law School (J.D., 1997, cum laude). Ms. Friedland was an editor of the
   Human Rights Law Journal and served as President of the Roscoe Pound Society, a
   student organization for second-career law students, while at Harvard.

   Ms. Friedland is admitted to practice in New York.

   Agnieszka M. Fryszman

   Agnieszka Fryszman, an Associate at the Firm, joined Cohen Milstein in 1998 and is a
   member of the International Human Rights and Antitrust practice groups.

   She currently represents Indonesian villagers in a lawsuit against Exxon Mobil over
   torture and extrajudicial killings allegedly committed by the defendant’s security forces
   (a unit of the Indonesian military). For the past several years, she has represented the
   former “comfort women,” women and girls who were forced into sexual slavery by the
   government of Japan during World War II. Her past successes include cases brought by
   survivors of Nazi-era forced and slave labor against the German and Austrian companies
   that allegedly used and profited from slave labor, which were resolved by international
   negotiations that resulted in multi-billion dollar settlements.
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   In the Antitrust practice group, she represents small businesses that have been victims of
   alleged price-fixing in the polyester staple and rubber chemicals markets.

   She has represented, pro bono, a number of victims of the September 11 attack on the
   Pentagon and obtained significant recoveries, including one of the highest awards for an
   injured survivor, from the Victim’s Compensation Fund. She also represents, pro bono,
   individuals indefinitely detained without charge by the United States at Guantanamo Bay.

   Before joining the Firm, Ms. Fryszman was Democratic counsel to the United States
   House of Representatives Committee on the Judiciary, Subcommittee on Commercial and
   Administrative Law. She also served as counsel to Representative Henry Waxman,
   Ranking Member on the House Government Reform and Oversight Committee.

   Ms. Fryszman graduated from Brown University with a B.A. in International Relations
   and Georgetown University Law Center (J.D., magna cum laude, 1996, Order of the
   Coif), where she was a Public Interest Law Scholar.

   Ms. Fryszman is admitted to practice in the District of Columbia and New Jersey.

   Reena Gambhir

   Reena Gambhir joined Cohen Milstein as an Associate in 2004 and is a member of the
   Antitrust and International practice groups.

   Ms. Gambhir is currently working on, among other antitrust class actions, In re:
   Hydrogen Peroxide Antitrust Litigation (E.D.Pa.) and In re Pressure Sensitive Labelstock
   Antitrust Litigation (M.D.Pa) alleging price-fixing on behalf of purchasers. Among other
   international and pro bono matters, Ms. Gambhir represents a detainee being held at the
   U.S. government’s detention facility in Guantanamo Bay, and residents of Bhopal, India
   who are exposed to the 1984 Union Carbide gas leak’s uncontrolled remaining toxic
   waste.

   Prior to joining the Firm, Ms. Gambhir served as a summer associate and also as a law
   clerk at the Public Defenders Service for the District of Columbia and the Washington
   Legal Clinic for the Homeless. In addition, she studied in the International Human
   Rights Law program at Oxford University, and was a student attorney in the International
   Human Rights Clinic at the George Washington University Law School. Prior to law
   school, Ms. Gambhir worked as a paralegal at an immigration law firm in Boston,
   Massachusetts.

   Ms. Gambhir received a B.A. from Boston College in English Literature (cum laude,
   1999) with a minor in American Gender and Race Studies. She received a Master of Arts
   in the Humanities from the University of Chicago (2000), and her law degree from the
   National Law Center, George Washington University (with honors, 2004), where she was
   a Thurgood Marshall Scholar.

   Ms. Gambhir is admitted to practice in Massachusetts, admission pending in New York.
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   Avi Garbow

   Avi Garbow, Of Counsel at the Firm, joined Cohen Milstein in 2005, and is a member of
   the Securities Litigation group. Prior to joining the Firm, Mr. Garbow was a Junior
   Partner at Wilmer Cutler Pickering Hale and Dorr in their Securities and Litigation
   Departments. At Wilmer, Mr. Garbow focused on complex civil and criminal litigation,
   with an emphasis on internal investigations and financial fraud matters. Before joining
   Wilmer, Mr. Garbow served over ten years in government as a federal prosecutor in the
   Justice Department's Environmental Crimes Section, a Special Assistant United States
   Attorney, and a Special Assistant to the Assistant Adminstrator for Enforcement at the
   U.S. Environmental Protection Agency. Mr. Garbow has also served as an instructor at
   the Justice Department's National Advocacy Center. He received special commendations
   from both the Department of Justice and the Environmental Protection Agency for his
   trial work.

   Mr. Garbow also serves as Vice Chair of the American Bar Association's International
   Human Rights Committee, and Chair of its Subcommittee on Inter-American Human
   Rights. In addition, he also regularly works with the Robert F. Kennedy Memorial
   Center for Human Rights, mainly advocating on behalf of certain international human
   rights defenders.

   He is a graduate of the University of Virginia School of Law (J.D., 1992) (where he was
   the recipient of the Robert F. Kennedy Award for Public Service), the University of
   Virginia Graduate School of Arts and Sciences (M.A. in Marine Affairs, 1994), and the
   University of Michigan (B.A., magna cum laude, 1988). He is also a former firefighter.

   Mr. Garbow is a member of the Virginia and District of Columbia bars.

   Llezlie L. Green

   Llezlie Green, an Associate at Cohen Milstein, joined the Firm in 2004 and is a member
   of the Civil Rights & Employment practice group.

   Ms. Green currently is involved in Keepseagle v. Veneman (D.D.C.), where plaintiffs
   allege the USDA discriminated in granting access to and servicing of farm loans to
   Native American farmers and ranchers; Chase v. AIMCO, alleging that the U.S.’s largest
   apartment management company violates the Fair Labor Standards Act by failing to pay
   its maintenance employees for time spent responding to emergency tenant service
   requests; and Arnold v. Cargill, which alleges discrimination against African-American
   salaried employees in performance evaluations, promotions, compensation, and
   terminations.

   Ms. Green is a member of the National Employment Lawyers Association and the
   Washington Council of Lawyers

   Before joining Cohen Milstein, Ms. Green worked for Wilmer Cutler & Pickering, where
   she focused on complex litigation and securities investigations and worked on various
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   civil rights and international human rights pro bono projects. Ms. Green then clerked for
   the Honorable Alexander Williams, Jr. on the United States District Court for the District
   of Maryland.

   Ms. Green graduated from Dartmouth College with a B.A. in Government (cum laude,
   1997) and Columbia Law School (J.D., 2002), where she was a Harlan Fiske Stone
   Scholar. At Columbia, Ms. Green was active in the Black Law Students Association,
   participated in the Human Rights Clinic, and served as an Articles Editor for the
   Columbia Human Rights Law Review. She authored a Note, Gender Hate Propaganda
   and Sexual Violence in the Rwandan Genocide: An Argument for Intersectionality in
   International Law, 33 Colum. Hum. Rts. L. Rev. 733 (2002). While in law school, Ms.
   Green interned at the Center for Constitutional Rights and the NAACP Legal Defense
   and Educational Fund.

   Ms. Green is admitted to practice in New York and the District of Columbia.

   Matthew K. Handley

   Matthew Handley, an Associate at Cohen Milstein, joined the Firm in 2004 and is a
   member of the Securities Fraud/Investor Protection and International practice groups.

   Mr. Handley currently is working on several active securities fraud actions against
   numerous issuers of securities for allegedly misleading investors, including In re Fannie
   Mae Securities Litigation (D.D.C.), In re Pozen Securities Litigation (M.D.N.C.), and In
   re UICI Securities Litigation (N.D.Tex.). Mr. Handley is also involved in the Firm’s
   international civil rights actions, including representation of a class of Indian residents
   who have suffered from groundwater pollution and representation of disability groups
   against a nationwide builder for failing to design and build accessible apartments.

   In his pro bono work, Mr. Handley has represented Nepali citizens in United States
   Immigration Court in political asylum proceedings.

   Prior to joining the Firm, Mr. Handley was a litigation associate at Covington & Burling
   in Washington, D.C. He began his legal career as a law clerk for the Honorable William
   Wayne Justice, United States District Judge for the Eastern District of Texas. Before
   attending law school, Mr. Handley served two years as a Peace Corps Volunteer in
   Nepal, working as a rural construction engineer.

   He graduated from Princeton University with a B.S.E in Civil and Environmental
   Engineering (1997) and attended the University of Texas School of Law where he
   graduated with high honors in 2002 and was selected for the Order of the Coif and
   Chancellors Honor Society. While at the University of Texas, he was an Articles Editor
   for the Texas Law Review and author of Why Crocodiles, Elephants, and American
   Citizens Should Prefer Foreign Courts: A Comparative Analysis of Standing to Sue, 21
   Rev. Litig. 97 (2002).

   Mr. Handley is admitted to practice in New York and the District of Columbia.
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   Andrea L. Hertzfeld

   Andrea Hertzfeld, an Associate at Cohen Milstein, joined the Firm in 2004 as a member
   of the Antitrust practice group.

   Ms. Hertzfeld currently is working on Schwab v. Philip Morris, USA Inc., et. al. (E.D.
   N.Y.), a case alleging RICO violations by the major tobacco companies in the sale and
   advertisement of “light” cigarettes, as well as litigation on behalf of the Guantanamo Bay
   detainees and an international environmental tort matter. Ms. Hertzfeld has been
   involved in, among other matters, the following antitrust litigation: In re Parcel Tanker
   Antitrust Litigation (D. Conn.); In re Publication Paper Antitrust Litigation (D. Conn.);
   and In re New Motor Vehicles Canadian Export Antitrust Litigation.

   Ms. Hertzfeld worked as a summer associate at Cohen Milstein in 2003. She also worked
   as a legal intern at the United States Attorney’s Office in Boston, Massachusetts.

   She received a B.A. with University Honors in Economics from Bowling Green State
   University (2000, summa cum laude), where she was a Frazier Reams Scholar and a
   member of Phi Beta Kappa. She received her law degree from Harvard Law School in
   2004, where she served as an Article Editor on the Women’s Law Journal.

   Ms. Hertzfeld is admitted to practice in Ohio and the District of Columbia.

   Megan E. Jones

   Megan E. Jones, an Associate at the Firm, joined Cohen Milstein in 2001 and is a
   member of the Antitrust practice group.

   She is currently involved in, among other class actions: In re Polyester Staple Antitrust
   Litigation (D. Conn.); In re EPDM Antitrust Litigation (D. Conn.); and ERC v. Archstone
   (D. Md.).

   Ms. Jones is the author of several publications and presentations including Bankers
   Beware: The Risks of Syndicated Credits, in The North Carolina Banking Institute
   (1999); Navigating the Sea of E-Commerce Regulation, in Global E-Commerce Law and
   Business Report (2000); A Legal Toolkit for E-Commerce in Latin America, presented in
   Miami, FL (2000); and a live webcast interview on Internet Regulation, at
   www.wallstreetreporter.com (2000).

   Prior to coming to the Firm, Ms. Jones litigated intellectual property matters and
   represented clients before Congress at a Washington, D.C. law firm.

   She received her B.A. in English from North Carolina State University in Raleigh, N.C.
   in 1995 (magna cum laude) and her J.D. from the University of North Carolina at Chapel
   Hill School of Law in 1999. During law school, she served as Article and Notes Editor
   of the Journal of the North Carolina Banking Institute. In addition, she competed as a
   member of the National Civil Trial Team. Ms. Jones also clerked for the Committee on
   the Judiciary, U.S. House of Representatives.
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   Ms. Jones is admitted to practice in North Carolina and the District of Columbia.

   Justine J. Kaiser

   Justine Kaiser joined the Firm as an Associate in 2001 and is a member of the Antitrust
   practice group. She is also a member of the Firm’s Summer Associate Committee and
   assists in the hiring and training of paralegals.

   Ms. Kaiser is currently involved in, among other matters, the Canadian Auto Antitrust
   Litigation (filed in a number of state courts throughout the country), In re Neurontin
   Marketing and Sales Practices Litigation (D. Mass.), and Seegot Holdings, Inc. v. Bayer
   AG (D.N.J.) (involving polyether polyols). Ms. Kaiser was also involved in the litigation,
   settlement and distribution of settlement proceeds in the following federal antitrust class
   actions: In re Buspirone Antitrust Litigation (S.D.N.Y.) involving the brand name drug
   BuSpar®, Ivax Corporation v. Akzo Nobel Chemicals B.V. (D.D.C) involving organic
   peroxides, and Diamond Chemical Company v. Atofina Chemicals, Inc. (D.D.C.)
   involving monochloroacetic acid and sodium monochloroacetate.

   Ms. Kaiser’s pro bono and volunteer work includes serving as a guardian ad litem for
   children in D.C. Superior Court, and acting as a mentor for young adults through the
   national organization JACS (Joint Action in Community Service, Inc.).

   Prior to joining the Firm, Ms. Kaiser served as a judicial law clerk to the Honorable
   James P. Salmon, Court of Special Appeals for the State of Maryland (2000-2001).

   Ms. Kaiser graduated with honors from Lehigh University in 1995 with a B.A. in
   Government. At Lehigh, she served as the President and Panhellenic Representative of
   Gamma Phi Beta Sorority. Ms. Kaiser graduated cum laude from American University’s
   Washington College of Law in 2000. While in law school, Ms. Kaiser participated in the
   D.C. Law Students in Court clinic representing indigent clients in Landlord-Tenant and
   Small Claims Court. Ms. Kaiser also served as a staff member on the American
   University Law Review.

   Ms. Kaiser is admitted to practice in the District of Columbia and Maryland.

   Matthew B. Kaplan

   Matt Kaplan joined the Firm in 2005 as an Associate in the Securities Fraud/Investor
   Protection practice group. Before coming to Cohen Milstein, Mr. Kaplan was a litigation
   associate with White & Case, LLP.

   Prior to becoming an attorney Mr. Kaplan was a U.S. Foreign Service Officer. He was
   stationed in Venezuela, Colombia, The Bahamas and Nicaragua.

   Mr. Kaplan is a graduate of Georgetown University’s School of Foreign Service
   (B.S.F.S., with honors). He received his law degree from The George Washington
   University Law School. (J.D., With Highest Honors, Order of the Coif)
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   Mr. Kaplan is admitted to practice in the District of Columbia and Virginia.

   Brent W. Landau

   Brent W. Landau, an Associate, joined Cohen Milstein in 2002 and is a member of the
   Antitrust practice group.

   Mr. Landau is currently working on Schwab v. Philip Morris USA, Inc., et al. (E.D.N.Y.),
   alleging a RICO conspiracy and fraud in connection with the marketing and sale of
   “light” cigarettes; In re Microsoft Corp. Antitrust Litigation (D. Md.), alleging
   monopolization of software markets; Meijer, Inc. v. 3M Company (E.D. Pa.), alleging
   monopolization of the market for invisible and transparent tape; and State of West
   Virginia ex rel. McGraw v. Warrick Pharmaceuticals Corp. (Cir. Ct., Kanawha Cty., W.
   Va.), alleging Medicaid fraud in connection with average wholesale prices for generic
   drugs. Other cases in which he has been involved include In re Vitamins Antitrust
   Litigation (D.D.C.), where a 2003 trial resulted in a trial verdict in favor of the plaintiffs
   and the class of $49.5 million before trebling, the fifth largest that year; and Ferko v.
   National Association for Stock Car Auto Racing, Inc. (E.D. Tex.), alleging
   anticompetitive conduct in the market for top-level stock car racing (a settlement in the
   case succeeded in bringing the inaugural second Nextel Cup Series race to Texas Motor
   Speedway).

   Prior to joining the Firm, Mr. Landau served as a judicial law clerk to the Honorable
   Bruce W. Kauffman, United States District Court for the Eastern District of
   Pennsylvania.

   He is the author of State Employees and Sovereign Immunity: Alternatives and Strategies
   for Enforcing Federal Employment Laws, 39 Harv. J. on Legis. 169 (2002), and State
   Bans on City Gun Lawsuits, 37 Harv. J. on Legis. 623 (2000).

   Mr. Landau graduated from the State University of New York at Binghamton, where he
   received a B.A. in History and Philosophy (summa cum laude, 1998) and was a member
   of Phi Beta Kappa. He obtained his law degree from Harvard Law School (cum laude,
   2001), where he was co-chairperson of the Tenant Advocacy Project and a supervising
   editor of The Harvard Journal on Legislation.

   Mr. Landau is admitted to practice in New York and the District of Columbia.

   Jason M. Leviton

   Jason Leviton, an Associate at Cohen Milstein, joined the Firm in 2004 as a member of
   the Securities Fraud/Investor Protection practice group.

   He is currently involved in several major securities fraud cases at the Firm, including the
   class action of Ong v. Sears, Roebuck, and Co. (N.D. Ill) and the individual action named
   Domenikos v. Nortel Networks Corp. et al. (S.D.N.Y.). Mr. Leviton also worked on a
   $7.5 million settlement against the auditing firm Coopers & Lybrand and several former
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   officers of Mid-American Waste Systems (Bovee v. Coopers & Lybrand, et al.)
   (S.D.Ohio).

   Prior to joining Cohen Milstein, Mr. Leviton was a securities class-action attorney with
   Milberg Weiss Bershad & Schulman LLP.

   Mr. Leviton attended Gonzaga University where he received both a B.A. in Philosophy
   (2000) and a J.D. (cum laude, 2003). While in law school, he won the Linden Cup Moot
   Court competition and was a member of the Editorial Board of the Across Borders
   International Law Journal. Mr. Leviton also received a Master of Laws (Dean’s
   Certificate, 2004) in Securities and Financial Regulations from Georgetown University
   Law Center. He was the inaugural LL.M. student selected for an externship with the
   SEC’s Division of Enforcement

   Mr. Leviton is admitted to practice in the states of Washington and Florida.

   Douglas J. McNamara

   Douglas McNamara, an Associate at the Firm, joined Cohen Milstein in 2001 as a
   member of the Antitrust and Consumer Protection practice groups.

   He is currently involved in major litigation against the tobacco industry alleging a RICO
   fraud in connection with “light” cigarettes, and in pharmaceutical cases involving the
   drugs Oxycontin and Vioxx.

   Prior to joining Cohen Milstein, Mr. McNamara was a litigation associate at Arnold &
   Porter, specializing in pharmaceutical and product liability cases. He started his career at
   New York City's Legal Aid Society, defending indigent criminal defendants at trial and
   on appeal.

   He has authored two law review articles: Buckley, Imbler and Stare Decisis: The Present
   Predicament of Prosecutorial Immunity and An End to Its Absolute Means, 59 Alb. L.
   Rev. 1135 (1996); and Sexual Discrimination and Sexual Misconduct: Applying New
   York's Gender-Specific Sexual Misconduct Law to Minors, 14 Touro L. Rev. 477 (Winter
   1998).

   Mr. McNamara graduated from SUNY Albany with a B.A. in Political Science (summa
   cum laude, 1992) and New York University School of Law (J.D., 1995).

   He is admitted to practice in New York.

   Victoria S. Nugent

   Victoria Nugent, an Associate, joined Cohen Milstein in 2000 and is a member of the
   Consumer Protection practice group.

   Ms. Nugent has focused on consumer protection and public health litigation throughout
   her career, including In re StarLink Product Liability Litigation (N.D. Ill.), representing
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   farmers whose corn crop was devalued as a result of StarLink’s actions and recovering
   more than $100 million in a landmark settlement; In re General Motors Dex-Cool
   Products Liability Litigation (S.D.Ill.), representing car owners seeking to enforce
   product warranties for an extended life coolant; and Howell v. State Farm (D.Md.),
   representing flood policy holders who were denied the full benefits of their government-
   backed insurance policies following Hurricane Isabel. Ms. Nugent has argued cases
   before the high courts of Georgia, Nebraska and the District of Columbia, and the federal
   D.C. Circuit Court of Appeals.

   Before joining Cohen Milstein, she worked for seven years at Public Citizen, a national
   consumer advocacy organization. During that time, Ms. Nugent worked on many
   legislative and regulatory campaigns addressing issues that ranged from automobile
   safety to international trade policy. In 1998, Ms. Nugent received a two-year fellowship
   to undertake consumer rights litigation at Trial Lawyers for Public Justice (TLPJ),
   sponsored by the National Association for Public Interest Law (NAPIL). As a NAPIL
   Fellow, she helped develop and prosecute impact litigation in the areas of arbitration,
   banking, credit and insurance.

   Ms. Nugent received her undergraduate degree in History from Wesleyan University in
   1991 and graduated from Georgetown University Law Center in 1998.

   Steig D. Olson

   Steig D. Olson joined the Firm as an Associate in 2003 as a member of the Antitrust
   practice group.

   He is currently involved in, among other cases, In re Plastics Additives Antitrust
   Litigation, (E.D.Pa) in which plaintiffs allege a price-fixing conspiracy by manufacturers
   of additives for plastics in the United States; Molecular Diagnostics Laboratories v.
   Hoffman-La Roche, Inc. (D.D.C.), for the unlawful monopolization of an enzyme used in
   DNA amplification, human-genome research, and medical diagnostics; and Griffin v.
   Concord EFS, Inc. (N.D.Cal.), which alleges that member banks of a network conspired
   to fix fees associated with ATM transactions.

   Mr. Olson is the author of Efforts to Delay Competition from Generic Drugs: Litigation
   Along a Seismic Fault Between Antitrust and Intellectual Property Law, co-authored with
   Joshua P. Davis, 39 U.S.F.L. Rev. 1 (2004). He has also provided research assistance for
   several articles, including those of V. Schultz, The Sanitized Workplace, 11 Yale L.J.
   2061 (2003); M. Mutua, Savages, Victims, and Saviors: The Metaphor of Human Rights,
   42 Harv. Int’l L.J. 201 (2001); and L. Guinier, Confirmative Action, 25 L. & Soc. Inquiry
   565 (2000).

   Before joining Cohen Milstein, Mr. Olson clerked for the Honorable Barrington D.
   Parker, Jr. of the United States Court of Appeals for the Second Circuit, and the
   Honorable Vaughn R. Walker of the United States District Court for the Northern District
   of California.
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   Mr. Olson graduated from Harvard Law School, magna cum laude (J.D., 2001) and
   Vassar College with a B.A. in Philosophy (1997).

   He is admitted to practice in New York.

   Marka A. Peterson

   Marka Peterson joined the Firm in 2003 as an Associate and is a member of the
   Securities Fraud/Investor Protection and Employee Benefits practice groups.

   She is currently involved in, among other cases, In re Globalstar Securities Litigation
   (S.D.N.Y.); In re Compuware Securities Litigation (E.D.Mich.) and In re Williams
   Company ERISA Litigation (N.D. Okla)

   Before coming to Cohen Milstein, Ms. Peterson served as the Fuchsberg Litigation
   Fellow at Public Citizen Litigation Group in Washington, D.C., where she litigated
   consumer and citizens’ rights cases. Prior to law school, Ms. Peterson worked for the
   Union of Needletrades, Industrial and Textile Employees, running public campaigns on
   behalf of textile workers and conducting shareholder activities on behalf of the union’s
   pension funds.

   Following law school, Ms. Peterson clerked for the Honorable Stephanie K. Seymour,
   United States Court of Appeals for the Tenth Circuit.

   Ms. Peterson received her undergraduate degree from Grinnell College (B.A., Political
   Science major and Chinese Studies minor, with honors, Phi Beta Kappa, 1989) and her
   law degree from New York University (J.D., Order of the Coif, 2001).

   Ms. Peterson is admitted to practice in the District of Columbia and Texas.

   James J. Pizzirusso

   James Pizzirusso joined the Firm in 2001 as an Associate and is a member of the Unsafe
   Drugs & Environmental Health Threats and Consumer Protection practice groups.

   Mr. Pizzirusso is currently working on cases involving lead paint, arsenic-treated wood,
   toxic solvents and low tar cigarettes. He and others at Cohen Milstein represent the City
   of Milwaukee in a public nuisance lawsuit against lead paint manufacturers and retailers.
   Mr. Pizzirusso was a member of the successful appellate team in City of Milwaukee v.
   NL, Inc. (Wisc. App. 2004). In overturning summary judgment in favor of defendants,
   the Wisconsin Court of Appeals became the first appellate court in the country to
   recognize the right of a governmental entity to bring a public nuisance and conspiracy
   lawsuit against the lead paint industry. Mr. Pizzirusso was also the lead student attorney
   and won a verdict in favor of the plaintiff under the Vaccine Injury Act in Dela Rosa v.
   Secretary of HHS (Fed. Cl. Aug. 14, 2001)(later settled for $9 million in lifetime care for
   the plaintiff).
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   Mr. Pizzirusso served as a panelist for “Consumer Protection Statutes,” at the D.C. Bar
   Animal Law Conference in April 2004 and for “Public Interest Tort Litigation: Using
   Private Tort Actions to Further Environmental Justice & Public Ends,” at the Public
   Interest Environmental Law Conference in March 2003. He is the author of two papers:
   Agency Rule-Making Power and the Clean Air Act: Putting the Brakes on American
   Trucking, Spring 2001 Term: Whitman v. American Trucking Associations, Inc., 7 Envtl.
   Law. 729 (June, 2001) and Increased Risk, Fear of Disease and Medical Monitoring –
   Are Novel Damage Claims Enough to Overcome Causation Difficulties in Toxic Torts, 7
   Envtl. Law. 183 (September, 2000).

   Prior to joining the Firm, he worked on several political campaigns and interned with the
   AFL-CIO.

   Mr. Pizzirusso is a co-founder of the Vegetarian Legal Action Network (VLAN).

   He graduated summa cum laude from the University of Tennessee-Knoxville with a B.A.
   in Environmental Policy (1998). While in college, he was a Whittle Scholar, a member
   of Phi Beta Kappa and earned the Torchbearer award for outstanding service to the
   University. In 2001, Mr. Pizzirusso obtained his law degree from George Washington
   University Law School (with honors) where he was a member of the Environmental
   Lawyer Journal and the Student Director of the law school clinical program. He was also
   Vice President of the Trial Court Board and Captain of a team that placed first in the
   region in ATLA’s 2000-2001 Student Trial Advocacy Competition.

   Mr. Pizzirusso is admitted to practice in the District of Columbia and Virginia.

   Brian A. Ratner

   Brian Ratner, an Associate at the Firm, joined Cohen Milstein in 2001 and is a member of
   the Antitrust and International practice groups. Mr. Ratner is also a member of the firm’s
   Summer Associate Committee.

   Mr. Ratner has worked extensively on the matter of In Re Vitamins Antitrust Litigation
   (D.D.C.) on behalf of two certified classes of vitamin direct purchasers who were
   overcharged as a result of a ten-year global price-fixing and market allocation
   conspiracy. Mr. Ratner acted as one of the lead associates in a 2003 trial in the case
   before Chief Judge Hogan, in which a jury unanimously found in favor of the class,
   awarding them $148,617,702 in trebled damages. The National Law Journal ranked this
   verdict as the 12th largest in 2003.

   Mr. Ratner litigated, among other matters: Empagran, S.A. et al. v. F. Hoffmann-
   LaRoche, Ltd., et al. (D.D.C.), a case alleging a global vitamins price-fixing and market
   allocation conspiracy on behalf of foreign purchasers (remanded by U.S. Supreme
   Court); In Re Publication Paper Antitrust Litigation (D. Conn.), alleging price fixing and
   market allocation; and Oncology & Radiation Associates v. Bristol-Myers Squibb Co.
   (D.D.C.), alleging monopolization against a drug manufacturer, which settled for $65
   million.
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   Prior to joining Cohen Milstein, Mr. Ratner worked for Jones, Day, Reavis & Pogue
   where he focused on complex civil and commercial litigation, corporate securities
   litigation, and antitrust. He also performed merger clearance and corporate counseling
   antitrust work related to the CBS/Viacom and AOL/Time Warner mergers.

   Mr. Ratner graduated from Indiana University-Bloomington with a B.A. in Journalism
   (1996) and a second major in Political Science. In college, he was a member of the
   Mortar Board National Honor Society, did undergraduate work at Hebrew University in
   Jerusalem, Israel, and worked on several political campaigns including the re-election
   campaign of former U.S. Senator Harris Wofford. Mr. Ratner obtained his law degree
   from the University of Pittsburgh School of Law (1999), where he was the Managing
   Editor of the Journal of Law and Commerce. During law school, Mr. Ratner externed for
   the Hon. Donetta W. Ambrose (W.D. Pa.).

   Mr. Ratner is admitted to practice in New Jersey, Pennsylvania and the District of
   Columbia.

   Julie Goldsmith Reiser

   Julie Goldsmith Reiser joined the Firm in 1999 as an Associate and is a member of both
   the Securities Fraud/Investor Protection and Civil Rights & Employment practice groups.

   Currently, she is working on Dukes v. Wal-Mart Stores, Inc. (N.D. Cal.), class action
   which has been certified for 1.5 million current and former female employees of Wal-
   Mart on complaints of discrimination in pay and promotion, and In re Parmalat
   Securities Litigation (S.D.N.Y.), a securities fraud class action alleging artificial inflation
   in the price of Parmalat’s securities. She has also been involved in the litigation and
   successful settlement of Beck v. The Boeing Co. (W. D. Wash.), which alleged sex
   discrimination in compensation and promotions; In re P-Com Securities Litigation
   (N.D.Cal.) ($16 million settlement); and In re Sabratek Securities Litigation (N.D.Ill.)
   ($15.3 million settlement).

   Ms. Reiser co-authored Companies in the Cross Hairs: When Plaintiffs Lawyers Choose
   Their Targets, They Look for These Employment Practices, The Legal Times, February
   21, 2005. In 1999, she co-authored Antitrust Introduction for the General Practitioner, a
   chapter in the Washington Lawyer’s Practice Manual.

   Prior to joining Cohen Milstein, Ms. Reiser worked in Seattle, Washington where she
   focused primarily on guardianship and healthcare litigation. She was President of the
   Board of Directors of Seattle Works and chaired the Nominating Committee for the
   Board of Directors of the Eastside Domestic Violence Program. She also served a term
   as a Trustee for the Pacific Northwest Ballet. In 1997, Ms. Reiser worked as a Legal
   Intern for U.S. Senator Patty Murray.

   Ms. Reiser graduated from Vassar College (B.A., International Studies, with honors,
   1992) and the University of Virginia Law School (J.D., 1997). While in law school, she
   was a member of the Virginia Journal of Law and Social Policy.
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   Ms. Reiser is admitted to practice in Washington State and the District of Columbia.

   Bruce F. Rinaldi

   Bruce Rinaldi joined the Firm in 2004 as Of Counsel and is a member of the Employee
   Benfits practice group.
   After clerking for United States District Judge James A. Walsh in Tucson, Arizona, Mr.
   Rinaldi taught at the University of Arizona School of Law and was in private practice in
   Tucson before serving as a Special Counsel in the Office of the General Counsel at the
   Securities and Exchange Commission. In 1979 he joined the Special Litigation Division
   in the Office of the Solicitor of Labor as Supervisory Trial Attorney, where he ran the
   litigation of Donovan v. Fitzsimmons (N.D. Ill.), negotiating and drafting a consent
   decree governing the management of billions of dollars in assets of the Teamsters Central
   States Pension Fund, which remains in effect today. Mr. Rinaldi also conducted a four
   month trial of allegations of ERISA fiduciary breaches with respect to the Teamsters
   Central States Health and Welfare Fund in Brock v. Robbins (D.C. N.D. Ill.).

   In 1985 Mr. Rinaldi became the Senior Trial Attorney in the Plan Benefits Security
   Division of the Department of Labor. Mr. Rinaldi litigated a wide range of major
   fiduciary breach cases brought by the Secretary of Labor under ERISA including the
   seminal case of Reich v. Valley National Bank ( S.D.N.Y.), concerning fiduciary breaches
   in the acquisition of employer stock by an ESOP. In 1989 Mr. Rinaldi joined the Office
   of Thrift Supervision (“OTS”) as the Associate Chief Counsel for Litigation and directed
   investigations and enforcement actions under the Financial Institutions Reform,
   Recovery, and Enforcement Act (“FIRREA”) for fiduciary breaches arising out of
   failures of thrifts and savings and loan organizations. He directed all of the enforcement
   actions taken by the OTS against officers, directors, accountants, and attorneys associated
   with Lincoln Savings and Loan Association, the largest thrift failure in history. See In re
   American Continental Corp./Lincoln Sav. & Loan Securities Litigation (D.C. Ariz.).

   In 2000, Mr. Rinaldi left the government for private practice. As the senior litigator at
   the McTigue Law Firm, Mr. Rinaldi was responsible as co-lead counsel for several cases,
   including the approved settlement of a case against the fiduciaries of the Morrison
   Knudson 401(k) plan, which was resolved for $21 million; In re McKesson HBOC, Inc.
   ERISA Litigation (N.D. Cal.); and In re CMS Energy ERISA Litigation (E.D.Mich.).

   Mr. Rinaldi earned a B.A. in Political Science from the University of California at
   Berkeley in 1969, after spending three years as a Peace Corps volunteer in Venezuela,
   and then received his law degree from the University of California at Davis (King Hall)
   in 1972.

   He is admitted to practice in the District of Columbia and is an inactive member of the
   Arizona and California Bars.

   Susan R. Schwaiger

   Susan Schwaiger joined Cohen Milstein as Of Counsel in 2001 and is a member of the
   Antitrust practice group.
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   Ms. Schwaiger currently works on a number of major multi-district antitrust litigations.
   In most of these cases the Firm serves as co-lead counsel. The cases include: In re
   Plastics Additives Antitrust Litigation (E.D.Pa); In re Microcrystalline Cellulose Antitrust
   Litigation (E.D.Pa.) (partial $50 million settlement with one defendant pending final
   court approval); In re Pineapples Antitrust Litigation (S.D.N.Y.); In re Linens Antitrust
   Litigation (S.D.N.Y.); and In re Rubber Chemicals Antitrust Litigation (N.D. Ca.). She
   participated in several antitrust cases successfully resolved, including In re Lorazepam &
   Clorazepate Antitrust Litigation (D.D.C.) ($35 million settlement).

   Prior to joining Cohen Milstein, Ms. Schwaiger was a litigation associate at Shearman &
   Sterling and Pomerantz, Haudek, Block, Grossman & Gross, LLP in New York City. At
   Shearman & Sterling, she was a key member of the litigation team representing Shannon
   Faulkner and several other women in their successful challenge to the all-male
   admissions policy of The Citadel Corps of Cadets in Charleston, South Carolina. After
   five years of litigation and three appeals, women were admitted to The Citadel and the
   court awarded fees to plaintiffs' counsel as a result of the defendants' “scorched earth
   tactics.” At the Pomerantz firm, she worked on In re Sorbates Direct Purchaser Antitrust
   Litigation, (N.D.Cal.), which resulted in an $82 million partial settlement fund.

   Ms. Schwaiger received her bachelor's degree in 1971 with a major in Psychology from
   the University of Tennessee and a master's degree in Educational Psychology and
   Counseling from the University of Kentucky in 1973. She graduated cum laude from
   Brooklyn Law School in 1992, where she was a member of the Brooklyn Law Review.

   Ms. Schwaiger is admitted to practice in New York.

   Daniel W. Sigelman

   Daniel Sigelman joined the Firm as Of Counsel in 2005 and is a member of the Unsafe
   Drugs & Environmental Health Threats practice group.

   Mr. Sigelman concentrates on mass tort/product liability and economic injury litigation
   against pharmaceutical and medical device manufacturers. His current work includes
   class action medical monitoring lawsuits focusing on the safety of heart valves; mass tort
   and ERISA cases involving drug products, such as Vioxx; and third party payor litigation
   against drug and medical device companies. Prior to joining Cohen Milstein, he held
   lead roles in product liability actions against FDA-regulated companies, including
   Grundberg v. The Upjohn Company (D. Utah) and In re St. Jude Medical, Inc., Silzone
   Heart Valves Products Liability Litigation (D. Minn.).

   Mr. Sigelman is an adjunct professor at the George Washington University Department
   of Health Policy and Health Services, where he teaches pharmaceutical policy. He is a
   frequent lecturer and commentator on health care and pharmaceutical/medical device
   issues. He has published several articles in Trial and other publications relating to
   discovery and the role of FDA regulation in pharmaceutical litigation and on
   congressional oversight of FDA’s regulation of drug safety.
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   From 1979 to 1981, Mr. Sigelman served as a staff attorney to the Public Citizen Health
   Research Group. From 1981 to 1988, he was counsel to the House Subcommittee on
   Human Resources and Intergovernmental Relations, where he conducted investigative
   oversight of the Food and Drug Administration. His investigations produced numerous
   congressional hearings on the FDA’s regulation of unsafe drugs, many of which were
   removed from the market for safety reasons. Some of his investigative findings forced
   changes in the FDA’s regulations as well as review of procedures and policies and even
   led to several successful federal prosecutions of pharmaceutical manufacturers for
   violating the federal Food, Drug, & Cosmetic Act. He authored numerous congressional
   committee reports on his investigations of the FDA’s regulation of the safety of the
   nation’s human and animal drug and food supply. From 1988-2000, he practiced in
   Atlanta, Georgia where he worked on drug and medical device cases and other types of
   litigations.

   Mr. Sigelman is a graduate of Dartmouth College (summa cum laude, 1972), where he
   received a B.A. in English. He attended the University of California, Berkley, earning a
   Master’s degree in English (1975), and the Boalt Hall School of Law, the University of
   California, Berkeley (J.D., 1979).

   Mr. Sigelman is admitted to practice in the District of Columbia and Georgia.

   Donna F. Solen

   Donna Solen, an Associate at Cohen Milstein, joined the Firm in 1997 and is a member
   of the Consumer Protection practice group.

   At Cohen Milstein, Ms. Solen concentrates on complex litigation and class actions in
   consumer protection matters. Currently she works on, among other matters, In re Lupron
   Marketing and Sales Practices Litigation (D. Mass.) (brought against pharmaceutical
   companies on pricing policies and methods; combined $150 million settlement pleading),
   a class action lawsuit for violations of RICO and various state laws brought by
   individuals and entities against drug manufacturers; Strugano v. Nextel Communications,
   Inc., et al. (Sup. Ct., L.A. Cnty, CA), a certified California class action lawsuit brought
   by subscribers for failure to provide notice of unilateral changes to subscriber
   agreements; and Watkins, et al v. Dryclean USA, et al. (Circuit Court, Miami-Dade
   County, FL), a class action lawsuit alleging violations of the Florida Deceptive and
   Unfair Trade Practices Act by drycleaners for charging a non-existent “environmental
   tax”.

   Ms. Solen graduated from Florida State University with a B.A. in Multinational Business
   (magna cum laude, 1994) and obtained her law degree from the University of Florida
   College of Law (J.D., with honors, 1997). While at the University of Florida, Ms. Solen
   served as Editor-in-Chief of the Florida Journal of International Law and was the author
   of a Note entitled ISO 14000: Emerging International Environmental Law, 10 Fla. J. Int'l
   L. 275 (1995) and a Comment entitled Forum Non Conveniens and the International
   Plaintiff, 9 Fla. J. Int'l L. (1994).
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   Ms. Solen is admitted to practice in Florida and the District of Columbia.


   Charles E. Tompkins

   Charles Tompkins, an Associate at Cohen Milstein, joined the Firm in 1999 and is a
   member of the Civil Rights & Employment and Antitrust practice groups. Mr. Tompkins
   also serves as the firm’s Paralegal Coordinator, supervising the paralegals in all practice
   areas.

   In the employment field, Mr. Tompkins obtained summary judgment in Robinson-Smith
   v. GEICO (D.D.C.) on behalf of a nationwide class of Auto Damage Adjusters whose
   employer, GEICO, refused to pay them overtime. GEICO began paying overtime shortly
   after the Adjusters’ victory, and the United States Department of Labor has since cited
   Robinson-Smith in an official opinion letter. Mr. Tompkins was part of the legal team
   that obtained a $10 million settlement on behalf of chicken-processing workers who were
   not paid for the time they spent putting on and taking off their required safety equipment
   (Trotter v. Perdue Farms, Inc., et al. (D.Del.)). Perdue Farms changed its practices as
   part of a global settlement, and now pays its employees for this time.

   Mr. Tompkins also is a member of the team litigating Dukes v. Wal-Mart Stores, Inc.
   (N.D.Cal.), in which female employees of Wal-Mart seek redress for unfair gender
   discrimination, in the largest Title VII certified class action. He is serving as counsel in
   Chase v. AIMCO Properties, et al., in which apartment maintenance employees seek
   overtime pay for time spent responding to service requests; and Hnot v. Willis, et al.
   (S.D.N.Y.), in which the Court certified a class of over one hundred female insurance
   brokerage executives who allege sexual discrimination in compensation and promotions.

   In the antitrust field, Mr. Tompkins was a member of the trial team that, following a two-
   week trial in a price-fixing case, obtained a $56.4 million judgment on behalf of Maine
   wild blueberry growers. Mr. Tompkins also was part of the team that litigated the federal
   antitrust actions Amo Marine Products, Inc., v. Brunswick Corp. (D.Minn) ($20 million
   settlement) and Paper Systems, Inc. v. Mitsubishi Corp. et al. (E.D.Wisc.) ($20 million
   settlement on the eve of trial).

   Mr. Tompkins also has significant appellate appearance. He was involved in the briefing
   and second-chaired the argument of Free v. Abbott Laboratories before the United States
   Supreme Court. In addition, Mr. Tompkins briefed and argued Swift v. Auto-Zone (S. Ct.
   Mass. 2003), an employment action alleging violations of Massachusetts state law, and
   Manchester v. Primerica Financial Services, et al. (11th Cir. 2001), an action alleging
   violations of California employment law and RICO.

   Prior to joining Cohen Milstein, Mr. Tompkins was an associate with the Washington,
   D.C. office of Akin, Gump, Strauss, Hauer & Feld, L.L.P., where he focused primarily on
   employment class action litigation.

   Mr. Tompkins graduated magna cum laude from Colgate University in 1992 with a B.A.
   in English and from the University of Virginia School of Law in 1997.
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   He has been admitted to practice in New York and the District of Columbia.

   Catherine A. Torell

   Catherine Torell is Of Counsel at Cohen Milstein. She joined the Firm in 2002 and is a
   member of the Securities Fraud/Investor Protection practice group.

   Currently, Ms. Torell is involved in the In re Parmalat Securities Litigation (S.D.N.Y.)
   on which Cohen Milstein serves as co-lead Counsel. She also conducts investigations of
   securities fraud cases for the practice group, working with all of its litigators.

   Prior to joining Cohen Milstein, Ms. Torell was associated with the firm of Entwistle &
   Cappucci LLP, where she served as co-lead counsel in In re Providian Financial
   Securities Litigation (E.D.Pa.), which resulted in a $38 million settlement. In approving
   the settlement, the Court remarked on the “extremely high quality” and “skill and
   efficiency” of plaintiffs' counsel's work throughout the litigation. Ms. Torell also was
   previously associated with Goodkind Labaton Rudoff & Sucharow LLP, where she
   served as counsel to the New York City Pension Funds in In re Orbital Sciences Corp.
   Securities Litigation (E.D.Va.) ($22.5 million settlement), as counsel to the Florida State
   Board of Administration in LaPerriere v. Vesta Insurance Group, et al. (N.D.Ala.) ($61
   million settlement), and as counsel to Amalgamated Bank of New York in In re Bristol-
   Myers-Squibb Securities Litigation (D.N.J.).

   Ms. Torell received a B.A. in Political Science from Stony Brook University (1984) and
   her law degree from St. John's University School of Law (1990) where she was the
   recipient of the Federal Jurisprudence Award.

   Ms. Torell is admitted to practice in New York.

   Kanchana Wangkeo

   Kanchana Wangkeo joined the Firm in 2005 as an Associate in the Antitrust Group.

   She is the author of several publications, including: Thailand’s Tobacco Control Policy:
   A Matter of Health or Trade, 12 Chulalongkorn J. of Econ. 141 (2000) (Thailand);
   Monumental Challenges: The Lawfulness of Destroying Cultural Heritage During
   Peacetime, 28 Yale J. Int’l L. 183 (2003); and Electronic Discovery Sanctions in the
   Twenty-First Century, 11 Mich. Telecomm. Tech. L. R. 71(2004) (with Hon. Shira A.
   Scheindlin).

   Ms. Wangkeo received a B.A. in Psychology and History from Duke University (magna
   cum laude, 1998) and a J.D. from the Yale Law School (2002) where she was an Articles
   Editor on the Yale Journal of International Law. Prior to law school, Ms. Wangkeo
   conducted political science research in Thailand as a Fulbright Scholar. After law school,
   she practiced at a top New York defense firm before serving as a judicial law clerk to the
   Honorable Shira A. Scheindlin of the United States District Court for the Southern
   District of New York.
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   She is admitted to practice in New York.

   Jenny R. Yang

   Jenny Yang joined the Firm in 2003 as an Associate and is a member of the Civil Rights
   & Employment practice group.

   Currently, she works on Jenkins v. BellSouth (N.D.Ala.), a race discrimination case
   alleging systemic discrimination in pay and promotions, and Robinson-Smith v. GEICO
   (D.D.C.) and Lindsay v. GEICO (D.D.C.), two separate nationwide lawsuits challenging
   GEICO's refusal to pay auto damage adjusters overtime. In addition, Ms. Yang was on
   the team that represented the plaintiffs and class in Beck v. The Boeing Company (W.D.
   Wash.), a class action alleging sex discrimination in compensation and promotions,
   which successfully settled for up to $72.5 million.

   Ms. Yang is a contributing editor of the ABA Labor & Employment Law Section’s
   employment discrimination treatise, Lindemann & Grossman, Employment
   Discrimination Law, upcoming 4th Edition.

   Prior to joining the Firm, Ms. Yang was a Senior Trial Attorney with the United States
   Department of Justice, Civil Rights Division, Employment Litigation Section, where she
   worked for five years on both pattern or practice and individual federal employment
   discrimination cases against state and local governments. She litigated cases involving
   discrimination based on race, sex and national origin. Before her work at the Department
   of Justice, Ms. Yang received a community service fellowship to work at the National
   Employment Law Project in New York City, a non-profit organization focusing on low-
   wage workers’ rights. While there, she worked on ground-breaking joint-employer
   liability litigation to hold garment manufacturers liable for unpaid wages owed to
   garment workers under the Fair Labor Standards Act. After law school, Ms. Yang
   clerked for the Honorable Edmund Ludwig on the United States District Court for the
   Eastern District of Pennsylvania. In 1992-1993, Ms. Yang worked on the Presidential
   Transition and at the White House, Office of Presidential Personnel.

   Ms. Yang served as a National Co-Chair and Board Member of the National Asian
   Pacific American Women's Forum from 1998-2004.

   Ms. Yang graduated from Cornell University (B.A., Government, with distinction, 1992)
   and New York University School of Law (J.D., cum laude, 1996) where she was a Root-
   Tilden Public Interest Scholar and a Note and Comment Editor of the Law Review. From
   2001-2003, she served as a government fellow for the American Bar Association, Labor
   and Employment Section, Equal Employment Opportunity Committee.

   Ms. Yang is admitted to practice in the District of Columbia, New York and New Jersey.

   Valerie G. Esch

   Valerie Esch joined Cohen Milstein in 2002 as a Civil Rights Staff Attorney.
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   Ms. Esch manages the investigation of potential civil rights cases and assists in the
   Firm’s employment discrimination litigation.

   Ms. Esch graduated from North Carolina State University with a B.A. in Political
   Science (with honors, 1997) and obtained her law degree from the University of
   Baltimore School of Law (J.D., 2001). While in law school, Ms. Esch served as
   Manuscript Editor of the University of Baltimore's Law Forum and was the author of a
   Recent Development entitled Attorney Grievance Commission of Maryland v. Painter,
   30.1 U. Balt. L.F. 72 (2000). Ms. Esch also served as a student attorney for the
   University of Baltimore School of Law Family Law Clinic in the Spring of 2001.

   Ms. Esch is admitted to practice law in Maryland.
